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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


  DEFENSE DISTRIBUTED and                              §   Case No. 1:18-CV-637
  SECOND AMENDMENT FOUNDATION, INC.,                   §
                                                       §
                     Plaintiffs,                       §
                                                       §
                     v.                                §
                                                       §
  UNITED STATES DEPARTMENT OF STATE,                   §   PLAINTIFFS’ SECOND
  MICHAEL R. POMPEO, in his official capacity as       §   AMENDED COMPLAINT
  Secretary of State; DIRECTORIATE OF DEFENSE          §
  TRADE CONTROLS; MIKE MILLER, in his official         §
  capacity as Acting Deputy Assistant Secretary of     §
  Defense Trade Controls; SARAH HEIDEMA, in her        §
  official capacity as Director of Policy, Office of   §
  Defense Trade Controls Policy,                       §
                                                       §
  and                                                  §
                                                       §
  GURBIR GREWAL, Attorney General of the               §
  State of New Jersey                                  §
                                                       §
                    Defendants.                        §
  ___________________________________________
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 I.     Introduction

        1.      This case concerns extraordinarily important questions of free speech regarding the

 First Amendment right to speak about the Second Amendment. Defense Distributed and the

 Second Amendment Foundation are peaceful, law-abiding organizations committed to preserving,

 protecting, and promoting America’s individual right to keep and bear Arms in both traditional

 and modern contexts. At stake now is the modern right to speak about the Second Amendment

 by sharing computer files with digital firearms information. Even though federal free speech laws

 protect this freedom with full force, both the United States Department of State and the New Jersey

 Attorney General are breaking the law multiple times over with unprecedented acts of censorship.

        2.      The State Department can never abridge the freedom of speech—especially where,

 as here, the State Department made a legally-enforceable contract to protect Defense Distributed

 and the Second Amendment Foundation’s right to engage in the speech at issue by performing a

 series of administrative obligations. But instead of performing those critical protective obligations,

 the State Department violated administrative law in failing to comply. Hence, Defense Distributed

 and the Second Amendment Foundation sue the State Department to halt this wrongdoing and

 obtain remedies due to them under the Administrative Procedure Act and other federal law.

        3.      Meanwhile, New Jersey’s Attorney General is abridging Defense Distributed and

 the Second Amendment Foundation’s freedom of speech as well. He denies the right to share

 digital firearms information because he cannot stand to let people speak out in favor of the Second

 Amendment. Through a torrent of civil and criminal enforcement actions, Grewal has punished

 and threatens to continue punishing Defense Distributed and the Second Amendment Foundation’s

 members for exercising their right to speak freely about firearms. Hence, Defense Distributed and

 the Second Amendment Foundation sue Grewal to halt his censorship under 42 U.S.C. § 1983.
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 II.     Parties

         A.        Defense Distributed

         4.        Plaintiff Defense Distributed is a private business corporation that is headquartered

 and has its principal place of business in Austin, Texas. It did so at all relevant times in the past.

         5.        Currently and at all relevant times in the past, most of Defense Distributed’s

 activities, including research, design, development, manufacturing, and publishing occurred in and

 around Austin.

         6.        Currently and at all relevant times in the past, all of Defense Distributed’s

 employees lived in or near Austin.

         7.        Currently and at all relevant times in the past, a public library that displayed

 Defense Distributed’s publications from time to time has been in Austin, Texas.

         8.        Cody Wilson founded Defense Distributed.

         9.        Cody Wilson serves as Defense Distributed’s Director.

         B.        Second Amendment Foundation, Inc.

         10.       Plaintiff Second Amendment Foundation, Inc. (“SAF”) is a non-profit membership

 organization incorporated under the laws of the State of Washington. SAF’s principal place of

 business is in Bellevue, Washington.

         11.       SAF promotes the right to keep and bear arms by supporting education, research,

 publications, and legal efforts about the Constitution’s right to privately own and possess firearms

 and the consequences of gun control. Some SAF members seek to receive the computer files that

 Defense Distributed seeks to publish, and some SAF members seek to share their own computer

 files by utilizing Defense Distributed’s facilities. These SAF members seek to exchange this

 information because of its technical, scientific, artistic, and political value.



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           12.    SAF brings this action on behalf of itself. SAF also brings this action on behalf

 of its members because at least one of its members would have standing to sue in his own right,

 the interests the suit seeks to vindicate are germane to the SAF’s purpose, and neither the claim

 asserted nor the relief requested requires the participation of individual members in the lawsuit.

           C.    The State Department

           13.   Defendant the United States Department of State is, and was at all relevant times,

 an executive department of the United States subject to the Administrative Procedure Act

 (“APA”). See 5 U.S.C. § 551(1). The United States Department of State is located at 2201 C

 Street, Northwest, Washington, District of Columbia 20520.

           14.   Defendant Michael R. Pompeo is United States Secretary of State. He is sued in

 his official capacity. In that capacity, he oversees the United States Department of State, its Bureau

 of Political Military Affairs, and its Directorate of Defense Trade Controls. He is responsible for

 the federal conduct that is the subject of this action and for the related acts and omissions alleged

 herein.

           15.   Defendant Directorate of Defense Trade Controls is, and was at all relevant times,

 a component of the United States Department of State’s Bureau of Political Military Affairs subject

 to the APA. See 5 U.S.C. § 551(1). The Directorate of Defense Trade Controls is located at SA-1

 Columbia Plaza, 2401 E Street Northwest, Washington, District of Columbia 20037.

           16.   Defendant Mike Miller is the United States Department of State’s Deputy Assistant

 Secretary of State for Defense Trade in the Bureau of Political-Military Affairs (PM). He is sued

 in his official capacity. In that capacity, he is responsible for the federal conduct that is the subject

 of this action and for the related acts and omissions alleged herein.




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         17.     Defendant Sarah Heidema is the Director of the Office of Defense Trade Controls

 Policy within the Directorate of Defense Trade Controls. She is sued in her official capacity. In

 that capacity, she is responsible for the conduct that is the subject of this action and for the related

 acts and omissions alleged herein.

         D.      Gurbir Grewal

         18.     Defendant Gurbir Grewal is the New Jersey Attorney General. In that capacity, he

 is responsible for all of the New Jersey civil and criminal enforcement efforts at issue. He is sued

 for declaratory and injunctive relief in his official capacity. Grewal’s counsel expressly consented

 to the Plaintiffs’ submission of a second amended complaint updating the claims against him.

 III.    Subject Matter Jurisdiction

         19.     28 U.S.C. § 1331 supplies the Court with original federal question jurisdiction over

 this action because it arises under the Constitution and laws of the United States.

         20.     28 U.S.C. § 1332 supplies the Court with original diversity jurisdiction over this

 action because the matter in controversy exceeds the sum or value of $75,000, exclusive of interest

 and costs, and is between citizens of different States.

         21.     28 U.S.C. § 1343 supplies the Court with original federal question jurisdiction over

 this action because it is an action to redress the deprivation, under color of state law, of rights,

 privileges, and immunities secured by the Constitution and statutes providing for equal rights of

 citizens or of all persons within the jurisdiction of the United States.

         22.     28 U.S.C. § 1367 supplies the Court with supplemental subject-matter jurisdiction

 over the action’s state-law claims because the state-law claims are so related to claims in the action

 within the Court’s original jurisdiction that they form part of the same case or controversy under

 Article III of the United States Constitution. The action’s state-law claims do not raise novel or



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 complex issues of state law. The action’s state-law claims do not substantially predominate over

 the claim or claims over which the district court has original jurisdiction.

        23.     This action seeks declaratory, injunctive, and other relief pursuant to the

 Constitution of the United States of America, 5 U.S.C. § 702, 5 U.S.C. § 705, 5 U.S.C. § 706, 28

 U.S.C. § 1651(a), 28 U.S.C. § 2201, 28 U.S.C. § 2202, 42 U.S.C. § 1983, and 42 U.S.C. § 1988.

        24.     There exists an active, justiciable controversy amongst the parties about whether

 the State Department complied with the Settlement Agreement attached to this complaint as

 Exhibit A. Declaratory relief will resolve this controversy and eliminate the burden imposed on

 Plaintiffs’ stemming therefrom.

        25.     There exists an active, justiciable controversy amongst the parties about what the

 Settlement Agreement attached to this complaint as Exhibit A still requires of the State

 Department. Declaratory relief will resolve this controversy and eliminate the burden imposed on

 Plaintiffs stemming therefrom.

        26.     There exists an active, justiciable controversy amongst the parties about whether

 Grewal’s civil and criminal censorship actions violate Defense Distributed and SAF’s rights under

 the Constitution and other federal laws. Declaratory relief will resolve this controversy and

 eliminate the burden imposed on Plaintiffs stemming therefrom.

 IV.    Venue

        27.     This Court constitutes a proper venue for this action because a substantial part of

 the events or omissions giving rise to the claims occurred here. See 28 U.S.C. § 1391(e)(1)(B).

        28.     This Court constitutes a proper venue for this action because a substantial part of

 the property that is subject of the action is situated here. See 28 U.S.C. § 1391(b)(2).




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        29.       This Court constitutes a proper venue for this action because this is an action against

 officers and agencies of the United States, a plaintiff resides in this judicial district, and a

 substantial part of the events or omissions giving rise to the claims occurred here. See 28 U.S.C.

 § 1391(e)(1)(B).

        30.       This Court constitutes a proper venue for this action because this is an action against

 officers and agencies of the United States, a plaintiff resides in this judicial district, and a

 substantial part of the property that is subject of the action is situated here. See 28 U.S.C.

 § 1391(e)(1)(C).

        31.       This Court constitutes a proper venue for this action because this is an action against

 officers and agencies of the United States, a plaintiff resides in this judicial district, and no real

 property is involved in the action. See 28 U.S.C. § 1391(e)(1)(C).

        32.       This action arises from actions that the State Department took and intends to take

 against Defense Distributed’s activities in Austin, Texas and Defense Distributed’s property in

 Austin, Texas.

        33.       This action arises from actions that Grewal took and intends to take against Defense

 Distributed’s activities in Austin, Texas and Defense Distributed’s property in Austin, Texas. See

 Def. Distributed v. Grewal, 971 F.3d 485 (5th Cir. 2020).

 V.     Permissive Joinder

        34.       Grewal and the State Department can be permissively joined as defendants in this

 action because the claims against them are with respect to or arising out of the same transaction,

 occurrence, or series of transactions or occurrences. See Fed. R. Civ. P. 20(a)(2)(A). The common

 transactions and/or occurrences include but are not limited to the execution, temporary fulfillment,

 temporary enjoyment, and violation of the Settlement Agreement described infra Part V.E-H.



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         35.     Grewal and the State Department can be permissively joined as defendants in this

  action because questions of law and/or fact common to all defendants will arise in the action. See

  Fed. R. Civ. P. 20(a)(2)(B). The common questions include but are not limited to (1) whether the

  publications at issue qualify speech for purposes of federal free speech law, (2) if so, which species

  of constitutional scrutiny applies to government actions implicating that speech, and (3) whether

  anything about the nature of the speech warrants elevated or lowered scrutiny.

  VI.    Facts

         A.      Digital Firearms Information is Speech.

         36.     This action concerns digital firearms information. Digital firearms information is

  “digital” because it exists in the form of coded computer files, as opposed to analog media like

  printed books. It is “information” because it conveys knowledge without advocating action. It

  pertains to both entire firearms and individual firearm components, and addresses their physical

  properties, production methods, and uses.

         37.     Digital firearms information exists in a wide variety of computer file formats.

  Common formats include portable document format (.pdf) files, DWG (.dwg) files, Standard for

  the Exchange of Product Data (“STEP”) (.stp) files, stereolithography (.stl) files, Initial Graphics

  Exchange Specification (.igs) files, SoLiDworks PaRT (.sldprt) files, and SketchUp (.skp) files, as

  well as plain text (.txt) files with notes, instructions, and comments.

         38.     Digital firearms information includes, but is not limited to, what authorities refer to

  as “Computer Aided Design files” or “CAD files.”            See, e.g., Control of Firearms, Guns,

  Ammunition and Related Articles the President Determines No Longer Warrant Control Under the

  United States Munitions List (USML), 85 Fed. Reg. 4136, 4140-42, 4172 (Jan. 23, 2020). CAD

  files are used primarily for abstract design. Users with the requisite computer hardware, software,



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  and expertise can employ CAD files to construct and manipulate complex two- and

  three-dimensional digital models of physical objects. These models serve a wide variety of

  important purposes apart from object fabrication. Examples include the computerized study of

  object properties, rendition of object images for product visualization, and parametric modeling of

  object families.    According to authorities, CAD files are not ready for insertion into

  object-producing equipment such as computer numerically controlled machine tools and additive

  manufacturing equipment (e.g., 3D printers). See, e.g., id.

         39.     Digital firearms information also includes, but is not limited to, what authorities

  refer to as “Computer Aided Manufacturing files” or “CAM files.” See, e.g., Control of Firearms,

  Guns, Ammunition and Related Articles the President Determines No Longer Warrant Control

  Under the United States Munitions List (USML), 85 Fed. Reg. 4136, 4140-42, 4172 (Jan. 23,

  2020). Like CAD files, CAM files can be used to construct and manipulate the digital two- and

  three-dimensional models of physical objects that serve design purposes apart from production.

  According to authorities, unlike CAD files, CAM files are ready for insertion into object-producing

  equipment such as computer numerically controlled machine tools and additive manufacturing

  equipment (e.g., 3D printers). See, e.g., id.

         40.     With respect to 3D-printing processes in particular, CAD files and CAM files do

  not produce anything automatically. They are not functional software. They do not self-execute.

  They are mere information stores. To fabricate an object as designed in a CAD or CAM file, a

  user must know how and choose to orchestrate a process involving substantial additional software

  (to interpret and implement the files into the motions of a 3D print head), substantial additional

  hardware (e.g., the computer running the software, the 3D printer), substantial physical labor,

  substantial amounts of time, and the requisite raw materials.


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         41.     The physical laws governing 3D-printer fabrication processes apply to all objects,

  including firearms. Even with a perfectly accurate set of digital firearms information, the most

  powerful software, and a state-of-the-art 3D printer, the digital model of a firearm component does

  not fabricate the component on its own. Firearm component fabrication is not an automatic

  process. It occurs only if and when a person chooses to perform a complex series of actions

  entailing considered volition and judgment, such as adapting and tailoring the design, selecting

  suitable component materials, choosing an effective manufacturing process, and opting to

  personally complete an extensive set of fabrication steps with the requisite software, hardware,

  and raw materials.

         B.      Defense Distributed’s Digital Firearms Information Publications.

         42.     Defense Distributed exists to promote the Second Amendment’s individual right to

  keep and bear Arms. To that end, Defense Distributed has published, is publishing, and intends to

  continue publishing digital firearms information to the American public.

         43.     The digital firearms information that Defense Distributed has published, is

  publishing, and intends to continue publishing is an important expression of technical, scientific,

  artistic, and political matter. Each and every computer file at issue has these values in the abstract,

  apart from any application that the information’s recipient might choose to devote it to. Akin to

  blueprints, each computer file’s sole purpose is to supply information in the abstract. It is

  constitutionally protected speech in every respect.

         44.     The digital firearms information that Defense Distributed has published, is

  publishing, and intends to continue publishing includes, but is not limited to, what authorities refer

  to as “Computer Aided Design files” or “CAD files.” See, e.g., Control of Firearms, Guns,




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  Ammunition and Related Articles the President Determines No Longer Warrant Control Under the

  United States Munitions List (USML), 85 Fed. Reg. 4136, 4140-42, 4172 (Jan. 23, 2020).

         45.     The digital firearms information that Defense Distributed has published, is

  publishing, and intends to continue publishing includes, but is not limited to, what authorities refer

  to as “Computer Aided Manufacturing files” or “CAM files.” See, e.g., id.

         46.     The digital firearms information that Defense Distributed has published, is

  publishing, and intends to continue publishing includes, but is not limited to, non-CAD and

  non-CAM files such as plain text (.txt) files with notes, instructions, and comments.

         47.     The digital firearms information that Defense Distributed has published, is

  publishing, and intends to continue publishing pertains to both entire firearms and to individual

  firearm components. A representative example of the digital firearms information that Defense

  Distributed has published concerns the single-shot pistol known as the “Liberator.”

         48.     The digital firearms information that Defense Distributed has published, is

  publishing, and intends to continue publishing does not and is not intended to advocate action. It

  especially does not advocate or intend to advocate any imminent action.

         49.     The digital firearms information that Defense Distributed has published, is

  publishing, and intends to continue publishing does not and is not intended to incite action. It

  especially does not incite or intend to incite any imminent action.

         50.     The digital firearms information that Defense Distributed has published, is

  publishing, and intends to continue publishing does not and is not intended to produce action. It

  especially does not produce or intend to produce any imminent action.

         51.     None of the digital firearms information that Defense Distributed has published, is

  publishing, and intends to continue publishing involves “imminent” fabrication. The 3D-printing



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  technologies at issue necessarily require a user to knowingly apply deliberate, focused will over

  the course of an extended period of time to fabricate an object.

         52.     Defcad.com (hereinafter “DEFCAD”) is a website for which Defense Distributed

  is and at all relevant times has been responsible. Via DEFCAD, Defense Distributed has published,

  republished, and facilitated the distribution of a wide variety of digital firearms information.

                 1.      Defense Distributed’s 2012–2013 Publications.

         53.     From approximately December 2012 to May 2013, Defense Distributed published

  a substantial set of computer files with digital firearms information to DEFCAD by letting any site

  visitor download them directly for free. The computer files with digital firearms information

  published via DEFCAD during this period included the following:

         (a)     files concerning a single-shot firearm known as the “Liberator”;

         (b)     files concerning a firearm receiver for AR-15 rifles;

         (c)     files concerning a magazine for AR-15 rifles;

         (d)     stereolithography (.stl) files about firearm components;

         (e)     Initial Graphics Exchange Specification (.igs) files about firearm components;

         (f)     SoLiDworks PaRT (.sldprt) files about firearm components;

         (g)     SketchUp (.skp) files about firearm components;

         (h)     Standard for the Exchange of Product Data (“STEP”) (.stp) files about firearm

                 components;

         (i)     diagrams of firearm components;

         (j)     renderings;

         (k)      “read me” plain text files about firearm assembly methods;




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         (l)     “read me” plain text files about the National Firearms Act and the Undetectable

                Firearms Act; and

         (m)    software licenses.

         54.    The computer files that Defense Distributed published to DEFCAD during this

  period were downloaded millions of times.

                2.     Defense Distributed’s July 2018 Publications.

         55.    From the evening of July 27, 2018 until the afternoon of July 31, 2018, Defense

  Distributed published a substantial set of computer files with digital firearms information to

  DEFCAD by letting any site visitor download them directly for free. The State Department

  provided advance approval of these publications. The computer files with digital firearms

  information so published via DEFCAD during this period included the following:

         (a)    files concerning a single-shot firearm known as the “Liberator”;

         (b)    files concerning an assembly of the AR-15 rifle and magazine;

         (c)    files concerning an assembly of the AKM rifle and magazine;

         (d)    stereolithography (.stl) files about firearm components;

         (e)    Initial Graphics Exchange Specification (.igs) files about firearm components;

         (f)    SoLiDworks PaRT (.sldprt) files about firearm components;

         (g)    SketchUp (.skp) files about firearm components;

         (h)    Standard for the Exchange of Product Data (“STEP”) (.stp) files about firearm

                components;

         (i)    diagrams of firearm components;

         (j)    renderings;

         (k)    NC files concerning fire control pocket milling;



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         (l)     “read me” plain text files about firearm assembly methods;

         (m)     “read me” plain text files about the National Firearms Act and the Undetectable

                 Firearms Act; and

         (n)     software licenses.

         56.     The computer files that Defense Distributed published to DEFCAD during this

  period were downloaded hundreds of thousands of times.

         57.     During this period, Defense Distributed also published the same computer files with

  digital firearms information at a brick-and-mortar public library in Austin, Texas by hosting the

  computer files in formats that patrons could access via computer workstations.

                 3.     Defense Distributed’s August–November 2018 Publications.

         58.     From approximately August 2018 to November 2018, Defense Distributed

  distributed a substantial set of computer files with digital firearms information via the mail by

  making its computer files available for shipment on physical storage devices. Defense Distributed

  did so by using an ecommerce platform on DEFCAD to facilitate the transaction and using the

  U.S. Postal Service as its means of delivering the information. After customers entered an order

  using DEFCAD’s online ecommerce platform, Defense Distributed put the information on a USB

  drive or SD card and mailed the drive or card to customers via the U.S. Postal Service.

         59.     During this period, Defense Distributed also offered and advertised its mailed

  distribution of digital firearms information to potential recipients.     These efforts included

  advertisements and offers on DEFCAD itself, participation in trade shows, and e-mail

  advertisements.

         60.     For anyone dealing with digital firearms information, the postal mail alternative to

  internet publication is not an adequate substitute. Internet communication of and about Defense



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  Distributed’s digital firearms information is essential for many reasons. Moreover, internet

  communication is important because it is the only way to ensure open source development and

  commitment to the public domain/ placement outside the bounds of intellectual property strictures.

                 4.      Defense Distributed’s 2020-Present Publications.

         61.     From March 27, 2020, to present, Defense Distributed published a substantial set

  of computer files with digital firearms information via DEFCAD. The computer files with digital

  firearms information published via DEFCAD during this period include original and legacy

  firearms models, CAD data, CAM data, blueprints and drawings.

         62.     Unlike Defense Distributed’s prior periods of publication on DEFCAD, Defense

  Distributed in this publication period did not let DEFCAD visitors download files freely. In this

  publication period, Defense Distributed used DEFCAD to facilitate secure file transfer via

  electronic transmissions that comply with current federal law by, inter alia, utilizing secure

  end-to-end encryption.

         63.     Unlike Defense Distributed’s prior periods of publication on DEFCAD, Defense

  Distributed in this publication period did not let DEFCAD visitors access the files at issue without

  any screening. In this publication period, Defense Distributed’s screening procedures deemed

  certain DEFCAD visitors ineligible for file distribution.

         64.     Unlike Defense Distributed’s prior periods of publication on DEFCAD, Defense

  Distributed in this publication period did not let DEFCAD make files available to persons outside

  the United States.

         65.     Unlike Defense Distributed’s prior periods of publication on DEFCAD, Defense

  Distributed in this publication period did not make its files available to residents of and persons in

  the State of New Jersey who lack a federal firearms license.



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         66.     As compared to Defense Distributed’s prior methods of publication on DEFCAD,

  Defense Distributed’s latest method of publication on DEFCAD substantially burdens Defense

  Distributed’s exercise of free speech and would not be utilized but for the wrongful actions of the

  State Department and Grewal.

         67.     Currently, Defense Distributed continues to publish a substantial set of computer

  files with digital firearms information via DEFCAD in the manner that it has done so since March

  27, 2020. The number of files published in this manner to date is at least 16,354.

                 5.      Published files will always remain online.

         68.     The computer files with digital firearms information that Defense Distributed

  published in the past will always be available on the internet, regardless of whether or not Defense

  Distributed itself continues to publish them. Without any coordination, many recipients of Defense

  Distributed’s digital firearms information have persistently republished those same files online via

  their own websites. The independently-republished versions of Defense Distributed’s files are not

  hidden in dark or remote recesses of the internet. Simple Google searches yield the republished

  Defense Distributed files with ease.

                 6.      Defense Distributed’s Future Publications.

         69.     To the extent that and as soon as it is legal to do so, Defense Distributed currently

  intends to publish the following computer files with digital firearms information online at

  DEFCAD by letting any site visitor download them directly for free:

         (a)     The computer files that Defense Distributed published online via DEFCAD from

                 December 2012 to May 2013. These include CAD files, CAM files, and non-CAD

                 and non-CAM files.




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         (b)     The computer files that Defense Distributed published online via DEFCAD from

                 July 27, 2018, to July 31, 2018. These include CAD files, CAM files, and non-

                 CAD and non-CAM files.

         (c)     The computer files that Defense Distributed published via the mail from late August

                 2018 through early November 2018. These include CAD files, CAM files, and

                 non-CAD and non-CAM files.

         (d)     The computer files that Defense Distributed published online via DEFCAD from

                 March 27, 2020, to present. These include CAD files, CAM files, and non-CAD

                 and non-CAM files.

         (e)     Computer files authored by Defense Distributed that Defense Distributed has not

                 published before. These include CAD files, CAM files, and computer files with

                 other digital firearms information.

         C.      The State Department’s International Traffic in Arms Regulations.

         70.     The Arms Export Control Act of 1976, 22 U.S.C. ch. 22 (the “AECA”), addresses

  the President’s authority to control the import and export of defense articles and defense services.

         71.     The International Traffic in Arms Regulations, 22 C.F.R. Parts 120-130 (“ITAR”),

  constitute AECA’s primary implementing regulations.

         72.     The State Department administers the AECA and the ITAR. Within the State

  Department, primary responsibility for administering the AECA and the ITAR lies with the

  Directorate of Defense Trade Controls (“DDTC”) in the Bureau of Political-Military Affairs.

         73.     The AECA provides that “no defense articles or defense services . . . may be

  exported or imported without a license for such export or import.” 22 U.S.C. § 2778(b)(2). It

  provides for criminal penalties up to a $1,000,000 fine and 20 years in prison for “[a]ny person



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  who willfully violates any provision of this section ... or any rule or regulation issued under this

  section.” Id. § 2778(c).

         74.     The AECA authorizes the President “to designate those items which shall be

  considered as defense articles and defense services for the purposes of this section and to

  promulgate regulations for the import and export of such articles and services. The items so

  designated shall constitute the United States Munitions List.” Id. § 2778(a)(1). The President, by

  executive order, has delegated to the State Department the authority to regulate under the AECA

  and to designate defense “articles” and “services” for inclusion on the United States Munitions

  List (“USML”). See Exec. Order No. 13,637, § 1(n)(i), 78 Fed. Reg. 16,129 (Mar. 8, 2013).

         75.     DDTC has from time to time promulgated regulations known as the International

  Traffic in Arms Regulations (“ITAR”). See 22 C.F.R. pts. 120-130 (2019). The ITAR make it

  unlawful to, inter alia, “export or attempt to export from the United States any defense article or

  technical data or to furnish or attempt to furnish any defense service for which a license or written

  approval is required” without such a license. Id. § 127.1(a)(1).

         76.     The ITAR’s definition of “export” includes the “actual shipment or transmission

  out of the United States, including the sending or taking of a defense article out of the United States

  in any manner.” Id. § 120.17(a)(1). The ITAR also provides that a “deemed export,” defined as

  “[r]eleasing or otherwise transferring technical data to a foreign person in the United States,”

  constitutes an “export.” Id. § 120.17(a)(2).

         77.     The ITAR also include, at 22 C.F.R. § 121.1, the USML, which enumerates the

  “articles, services, and related technical data [that] are designated as defense articles or defense

  services” for purposes of the AECA and ITAR. Id. § 121.1(a). The USML organizes the

  designated items into twenty-one categories, encompassing various forms of weaponry,



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  ammunition, explosives, military-type equipment and vessels, toxicological agents, classified data,

  and more. Each of the twenty-one categories includes as a designated item “[t]echnical data” and

  “defense services” that are “directly related to the defense articles” listed in that category. See,

  e.g., id. §§ 121.1(I)(i), (II)(k), (III)(e), (IV)(i), (V)(j), (VI)(g), (VII)(h).   The ITAR define

  “technical data” to include “[i]nformation ... required for the design, development, production,

  manufacture, assembly, operation, repair, testing, maintenance or modification of defense

  articles.” Id. § 120.10(a)(1).

          D.      Defense Distributed I: Litigation

          78.     “Defense Distributed I” refers to a federal civil action docketed in the United States

  District Court for the Western District of Texas, Austin Division as Defense Distributed, et al. v.

  United States Department of State, et al., No. 1:15-CV-372-RP (W.D. Tex.), and in the United

  States Court of Appeals for the Fifth Circuit first as Defense Distributed, et al. v. United States

  Department of State, et al., No. 15-50759 (5th Cir.) and later as Defense Distributed, et al. v.

  United States Department of State, et al., No. 18-50811 (W.D. Tex.). Defense Distributed I yielded

  the following reported opinions:

          (a)     Def. Distributed v. U.S. Dep’t of State, 121 F. Supp. 3d 680 (W.D. Tex. 2015)

          (b)     Def. Distributed v. U.S. Dep’t of State, 838 F.3d 451 (5th Cir. 2016) (panel opinion)

          (c)     Def. Distributed v. U.S. Dep’t of State, 838 F.3d 451, 461–76 (Jones, J., dissenting)

          (d)     Def. Distributed v. U.S. Dep’t of State, 865 F.3d 211 (5th Cir. 2017) (Elrod, Jones,

                  Smith and Clement, JJ., dissenting from the denial of rehearing en banc)

          (e)     Def. Distributed v. United States Dep’t of State, 947 F.3d 870 (5th Cir. 2020).

          79.     The plaintiffs in Defense Distributed I were Defense Distributed, SAF, and an

  individual SAF member, Conn Williamson.



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         80.     The defendants in Defense Distributed I match the defendants in this case: the

  United States Department of State, the Secretary of State, the State Department’s Directorate of

  Defense Trade Controls, the Acting Deputy Assistant Secretary of State for Defense Trade

  Controls in the Bureau of Political-Military Affairs, and the Acting Director of the Office of

  Defense Trade Controls Policy Division.           They are referred to collectively as “the State

  Department.”

         81.     Defense Distributed I concerned four categories of computer files defined by that

  action’s pleadings: the “Published Files,” the “Ghost Gunner Files,” “CAD Files,” and the “Other

  Files.” Together, these categories of files are referred to as the “Defense Distributed I Files.”

         (a)     The “Published Files” category of Defense Distributed I Files consists of ten

                 separate sets of files.    It includes stereolithography (.stl) files about firearm

                 components, Initial Graphics Exchange Specification (.igs) files about firearm

                 components, SoLiDworks PaRT (.sldprt) files about firearm components,

                 SketchUp (.skp) files about firearm components, Standard for the Exchange of

                 Product Data (“STEP”) (.stp) files about firearm components, diagrams of firearm

                 components, renderings, “read me” plain text files about firearm assembly

                 methods, “read me” plain text files about the National Firearms Act and the

                 Undetectable Firearms Act, and software licenses. From approximately December

                 2012 to May 2013, Defense Distributed published these files to DEFCAD for free

                 download by the public.

         (b)     The “Ghost Gunner Files” category of Defense Distributed I Files consists of

                 software, data files, project files, coding, and models containing technical




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                 information for a machine, named the “Ghost Gunner,” that can be used to

                 manufacture a variety of items, including gun parts.

         (c)     The “CAD Files” category of Defense Distributed I Files consists of STEP (.stp)

                 and stereolithography (.stl) files about a lower receiver to the AR-15 rifle.

         (d)     The “Other Files” category of Defense Distributed I Files consists of files that

                 contain technical information, to include design drawings, rendered images, written

                 manufacturing instructions, and other technical information that Defense

                 Distributed intends to post to public forums on the Internet; provided, however, that

                 this category only extends insofar as those files regard items that, as of June 29,

                 2018, were exclusively: (i) in Category I(a) of the United States Munitions List, as

                 well as barrels and receivers covered by Category I(g) of the United States

                 Munitions List that are components of such items; or (ii) items covered by Category

                 I(h) of the United States Munitions List solely by reference to Category I(a),

                 excluding Military Equipment.

         82.     Defense Distributed I began after the State Department used the AECA and ITAR

  regime to impose an illegal prior restraint on public speech concerning technical firearms data,

  including the Defense Distributed I Files. Under this regime, the State Department required that

  Defense Distributed obtain prior United States government approval before publication of the

  Defense Distributed I Files could occur on the internet and at other public venues.

         83.     The Defense Distributed I plaintiffs challenged the legality of the State

  Department’s enforcement of the AECA/ITAR regime vis-à-vis the Defense Distributed I Files.

  In particular, they challenged the State Department’s governance of the Defense Distributed I Files




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  as ultra vires action not authorized by the statutes and regulations at issue, and as violations of the

  First, Second, and Fifth Amendments of the Constitution.

         84.     At a preliminary stage, the district court in Defense Distributed I denied the Defense

  Distributed I plaintiffs’ motion for a preliminary injunction. Def. Distributed v. Dep’t of State, 121

  F. Supp.3d 680 (W.D. Tex. 2015).

         85.     An interlocutory appeal of the Defense Distributed I preliminary injunction denial

  was taken to the Fifth Circuit. A divided Fifth Circuit panel affirmed the district court’s decision.

  Def. Distributed v. United States Dep’t of State, 838 F.3d 451 (5th Cir. 2016). But it declined to

  reach the merits, ruling solely based on “the balance of harm and the public interest.” Id. at 461.

         86.     The merits of Defense Distributed I’s preliminary injunction were, however,

  reached by two important opinions. Judge Jones emphasized the protected nature of this speech

  in a panel dissent: “the State Department’s application of its ‘export’ control regulations to this

  domestic Internet posting appears to violate the governing statute, represents an irrational

  interpretation of the regulations, and violates the First Amendment as a content-based regulation

  and a prior restraint.” Id. at 463–64. (Jones, J. dissenting). The judges dissenting from the denial

  of rehearing en banc also reached the merits. Def. Distributed v. U.S. Dep’t of State, 865 F.3d 211

  (5th Cir. 2017). Their opinion explained that the lower court’s “flawed preliminary injunction

  analysis permits perhaps the most egregious deprivation of First Amendment rights possible: a

  content based prior restraint.” Id. at 212.

         E.      Defense Distributed I: Settlement Agreement

         87.     After the Defense Distributed I interlocutory appeal concluded, the district court in

  Defense Distributed I ordered the parties to engage in settlement negotiations. The parties did so

  successfully and settled their dispute by agreement.


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         88.     The Defense Distributed I settlement amounted to a victory for the plaintiffs. Press

  reports correctly understood that the State Department’s decision to settle “essentially surrenders”

  to the constitutional challenge Defense Distributed and SAF had been pressing all along; that the

  settlement “promises to change the export control rules surrounding any firearm below .50 caliber

  – with a few exceptions like fully automatic weapons and rare gun designs that use caseless

  ammunition – and move their regulation to the Commerce Department, which won’t try to police

  technical data about the guns posted on the internet”; and that, in the meantime, the settlement

  “gives [Defense Distributed] a unique license to publish data about those weapons anywhere [it]

  chooses.” Andy Greenberg, A Landmark Legal Shift Opens Pandora’s Box for DIY Guns, Wired

  Magazine (July 18, 2018), available at https://bit.ly/2QK3is6.

         89.     The Defense Distributed I settlement agreement is memorialized by the “Settlement

  Agreement”: a written contract that all sides executed validly on June 29, 2018. A copy of that

  instrument is attached to this complaint as Exhibit A. Among other things, the Settlement

  Agreement obligates the State Department to do the following:

         (a)     Settlement Agreement Paragraph 1(a) - New Rule

                         Settlement Agreement Paragraph 1(a) requires the State Department to draft

                 and fully pursue, to the extent authorized by law (including the Administrative

                 Procedure Act), the publication in the Federal Register of a notice of proposed

                 rulemaking and final rule, revising United States Munitions List (“USML”)

                 Category I to exclude the Defense Distributed I Files. The pertinent text provides

                 as follows: “Defendants agree to the following . . . : (a) Defendants’ commitment

                 to draft and to fully pursue, to the extent authorized by law (including the

                 Administrative Procedure Act), the publication in the Federal Register of a notice



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              of proposed rulemaking and final rule, revising USML Category I to exclude the

              technical data that is the subject of the Action.”

        (b)   Settlement Agreement Paragraph 1(b) - Temporary Modification:

                        Settlement Agreement Paragraph 1(b) requires the State Department to

              announce, while the above-referenced final rule is in development, a temporary

              modification, consistent with International Traffic in Arms Regulations (ITAR), 22

              C.F.R. § 126.2, of USML Category I to exclude the Defense Distributed I Files;

              and to publish the announcement on the Directorate of Defense Trade Controls

              website on or before July, 27, 2018. The pertinent text provides as follows:

              “Defendants agree to the following . . . (b) Defendants’ announcement, while the

              above-referenced final rule is in development, of a temporary modification,

              consistent with the International Traffic in Arms Regulations (ITAR), 22 C.F.R.

              § 126.2, of USML Category I to exclude the technical data that is the subject of the

              Action.        The   announcement      will   appear   on   the   DDTC     website,

              www.pmddtc.state.gov, on or before July 27, 2018.”

        (c)   Settlement Agreement Paragraph 1(c) - License

                        Settlement Agreement Paragraph 1(c) requires the State Department to

              issue a license to the Defense Distributed I plaintiffs on or before July 27, 2018,

              signed by the Deputy Assistant Secretary for Defense Trade Controls, advising that

              the Published Files, Ghost Gunner Files, and CAD Files are approved for public

              release (i.e., unlimited distribution) in any form and are exempt from the export

              licensing requirements of the ITAR because they satisfy the criteria of 22 C.F.R.

              § 125.4(b)(13). The pertinent text provides as follows: “Defendants agree to the



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              following . . . (c) Defendants’ issuance of a letter to Plaintiffs on or before July 27,

              2018, signed by the Deputy Assistant Secretary for Defense Trade Controls,

              advising that the Published Files, Ghost Gunner Files, and CAD Files are approved

              for public release (i.e., unlimited distribution ) in any form and are exempt from the

              export licensing requirements of the ITAR because they satisfy the criteria of 22

              C.F.R. § 125.4(b)(13). For the purposes of 22 C.F.R. § 125.4(b)(13) the Department

              of State is the cognizant U.S. Government department or agency, and the

              Directorate of Defense Trade Controls has delegated authority to issue this

              approval.”

        (d)   Settlement Agreement Paragraph 1(d) - Acknowledgement

                      Settlement Agreement Paragraph 1(d) requires the State Department to

              acknowledge and agree that the temporary modification of USML Category I

              permits any United States person, to include Defense Distributed’s customers and

              SAF’s members, to access, discuss, use, reproduce, or otherwise benefit from the

              Defense Distributed I Files, and that the license issued to the Defense Distributed I

              plaintiffs permits any such person to access, discuss, use, reproduce or otherwise

              benefit from the Published Files, Ghost Gunner Files, and CAD Files. The pertinent

              text provides as follows: “Defendants agree to the following . . . (d) Defendants’

              acknowledgment and agreement that the temporary modification of USML

              Category I permits any United States person, to include DD’s customers and SAF’s

              members, to access, discuss, use, reproduce, or otherwise benefit from the technical

              data that is the subject of the Action, and that the letter to Plaintiffs permits any




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                 such person to access, discuss, use, reproduce or otherwise benefit from the

                 Published Files, Ghost Gunner Files, and CAD Files.”

         90.     The Settlement Agreement binds all of the parties to Defense Distributed I and all

  of this action’s parties.   Settlement Agreement paragraph 7 provides that the “Settlement

  Agreement” shall be binding upon and inure to the benefit of Plaintiffs and Defendants, and the

  respective heirs, executors, successors, assigns and personal representatives, including any

  persons, entities, departments or agencies succeeding to the interest of obligations of the Parties.”

         F.      Settlement Agreement Fulfillment Begins

         91.     After the Settlement Agreement’s execution on July 27, 2018, the State Department

  began to fulfill—temporarily—certain of its Settlement Agreement obligations:

         (a)     Settlement Agreement Paragraph 1(a) - New Rule

                         By July 27, 2018, the State Department had taken steps to comply with the

                 obligation imposed by Settlement Agreement Paragraph 1(a). It published in the

                 Federal Register a notice of proposed rulemaking revising USML Category I to

                 exclude the Defense Distributed I Files. See 83 Fed. Reg. 24,198 (May 24, 2018).

         (b)     Settlement Agreement Paragraph 1(b) - Temporary Modification

                         By July 27, 2018, the State Department had taken steps to comply with the

                 obligation imposed by Settlement Agreement Paragraph 1(b). It made a temporary

                 modification to USML Category I, pursuant to 22 C.F.R. § 126.2, to “exclude” the

                 Defense Distributed I Files from Category I. A copy of that instrument is attached

                 to this complaint as Exhibit B.

         (c)     Settlement Agreement Paragraph 1(c) - License

                         By July 27, 2018, the State Department had taken steps to comply with the



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                 obligation imposed by Settlement Agreement Paragraph 1(c). It issued Defense

                 Distributed a license—a letter issued by the State Department’s Acting Deputy

                 Assistant Secretary for the Directorate of Defense Trade Controls—authorizing the

                 Defendants to publish the Published Files, Ghost Gunner Files, and CAD Files for

                 “unlimited distribution.” A copy of that instrument is attached to this complaint as

                 Exhibit C.

         (d)     Settlement Agreement Paragraph 1(d) - Acknowledgement

                         By July 27, 2018, the State Department had taken steps to comply with the

                 obligation imposed by Settlement Agreement Paragraph 1(d). It acknowledged and

                 agreed that the temporary modification permits any United States person to access,

                 discuss, use, reproduce, or otherwise benefit from the Defense Distributed I Files;

                 and that the license issued to the Defense Distributed I plaintiffs permits any such

                 person to access, discuss, use, reproduce or otherwise benefit from the Published

                 Files, Ghost Gunner Files, and CAD Files. See Ex. A at 2.

         92.     On June 29, 2018, the parties to Defense Distributed I filed a joint stipulation of

  dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(ii). The filing provided as follows:

  “Pursuant to Federal Rule of Civil Procedure 41 (a)( I )(A)(ii) and 41(a)( I )(B), and a settlement

  agreement among Plaintiffs (Defense Distributed, Second Amendment Foundation, Inc., and Conn

  Williamson) and Defendants (the United States Department of State, the Secretary of State, the

  Directorate of Defense Trade Controls, the Deputy Assistant Secretary, Defense Trade Controls.

  and the Director, Office of Defense Trade Controls Policy), the Plaintiffs and the Defendants

  hereby stipulate to the dismissal with prejudice of this action.”




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         93.     On July 30, 2018, the Defense Distributed I district court entered an order providing

  that “the case is DISMISSED WITH PREJUDICE” and the “action is CLOSED.”

         94.     The State Department’s temporary fulfillment of the Settlement Agreement

  obligations lasted from July 27, 2018 until the afternoon of July 31, 2018. During that period,

  Defense Distributed engaged in the publication addressed supra at Part V.B.2 (“Defense

  Distributed’s July 2018 Publications”).

         G.      The State Department Stopped Fulfilling the Settlement Agreement

         95.     On July 30, 2018, Grewal and a group of state attorneys general (hereinafter “the

  States”) initiated a civil action against the State Department, Defense Distributed, SAF, and Conn

  Williamson. The States chose to sue in their forum of choice, the Western District of Washington’s

  Seattle division, before Judge Robert Lasnik. The suit was docketed in the district court as State

  of Washington et al., v. United States Department of State et al., No. 2:18-cv-1115-RSL.

         96.     Grewal explained the nature of the States’ involvement in this litigation by saying

  the following on the record: “The federal government is no longer willing to stop Defense

  Distributed from publishing this dangerous code, and so New Jersey must step up.”

         97.     The States’ Washington complaint alleged that, by issuing the Temporary

  Modification and license, the State Department had violated the Administrative Procedure Act

  (APA). The suit sought a preliminary nationwide injunction and a final judgment vacating the

  Temporary Modification and license. These claims went against the State Department alone.

         98.     The Settlement Agreement was never the subject of any claim in the Washington

  case. The States never claimed that the Settlement Agreement was illegal and never sought relief

  against the Settlement Agreement. Their only claims targeted two of the actions the State

  Department took in an attempt to fulfill the Settlement Agreement.



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         99.     Nor were Defense Distributed and SAF the subject of any claim. The States

  asserted no cause of action and sought no relief against Defense Distributed or SAF. The APA

  claim about the license went against the State Department alone, did not allege that Defense

  Distributed or SAF did anything wrong, and did not seek relief against them. Likewise for the

  APA claim about the Temporary Modification. It too went against the State Department alone,

  did not allege that Defense Distributed or SAF did anything wrong, and did not seek relief against

  Defense Distributed or SAF.

         100.    On July 31, 2018, the States obtained from the United States District Court for the

  Western District of Washington a temporary restraining order against the State Department: “The

  federal government defendants and all of their respective officers, agents, and employees are

  hereby enjoined from implementing or enforcing the ‘Temporary Modification of Category I of

  the United States Munitions List’ and the letter to Cody R. Wilson, Defense Distributed, and

  Second Amendment Foundation issued by the U.S. Department of State on July 27, 2018, and shall

  preserve the status quo ex ante as if the modification had not occurred and the letter had not been

  issued.”

         101.    A key concession occurred during the preliminary injunction proceedings: Both the

  State Department and the States conceded that there is nothing inherently illegal about the

  computer files at issue. Aside from concerns about Defense Distributed’s files being on the

  internet, the States and State Department took no issue with anyone’s right to distribute the very

  same computer files via other channels. At the preliminary injunction hearing, counsel for the

  States took the position that, apart from internet publication, Defense Distributed had a right to

  distribute digital firearms information via the mail or otherwise “hand them around domestically”

  without violating any law. Counsel for the State Department agreed, stating that, “even if the



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  Court were to grant plaintiffs every ounce of relief that they seek in this case, Defense Distributed

  could still mail every American citizen in the country the files that are at issue here.” In light of

  this concession, Defense Distributed engaged in the publication addressed supra at Part V.B.3

  (“Defense Distributed’s August-November 2018 Publications”).

           102.   On August 27, 2018, the States obtained from the United States District Court for

  the Western District of Washington a preliminary injunction against the State Department: “The

  federal defendants and all of their respective officers, agents, and employees are hereby enjoined

  from implementing or enforcing the ‘Temporary Modification of Category I of the United States

  Munitions List’ and the letter to Cody R. Wilson, Defense Distributed, and the Second Amendment

  Foundation issued by the U.S. Department of State on July 27, 2018, and shall preserve the status

  quo ex ante as if the modification had not occurred and the letter had not been issued until further

  order of the Court.” Washington v. U.S. Dep't of State, 318 F. Supp. 3d 1247, 1264 (W.D. Wash.

  2018).

           103.   Even though the State Department had a right to appeal the Washington case’s

  preliminary injunction decision, and even though it had preserved arguments that would have

  succeeded in having the district court’s judgment vacated or reversed, the State Department

  refused to appeal. It let the deadline for that interlocutory appeal come and go without taking any

  appellate action. The State Department refused to appeal this preliminary injunction because of

  partisan politics and in spite of federal legal advisors that deemed an appeal legally necessary.

           104.   The rest of the Washington case’s key decisions occurred on summary judgment.

  On the merits, the Washington district court accepted both of the States’ APA claims. First, the

  Washington district court held that the State Department’s issuance of the Temporary Modification

  was “without observance of procedure required by law,” 5 U.S.C. § 706, because a Congressional



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  notice requirement had not been met. Washington v. U.S. Dep't of State, 420 F. Supp. 3d 1130,

  1141-43    (W.D. Wash. 2019).      Second, the Washington district court held that the State

  Department’s issuance of both the Temporary Modification and the license were “arbitrary and

  capricious,” 5 U.S.C. § 706, because of insufficient explanation and evidentiary support in the

  administrative record. Id. at 1144-47. Neither of these claims are meritorious.

         105.    The Washington action’s final judgment orders as follows: “The July 27, 2018,

  ‘Temporary Modification of Category I of the United States Munitions List’ and letter to Cody R.

  Wilson, Defense Distributed, and the Second Amendment Foundation were unlawful and are

  hereby VACATED.”        Part of the Washington district court’s decision addressed the First

  Amendment implications of vacating the Temporary Modification and license. It held the

  Constitution’s First Amendment was “not relevant to the merits”: “Whether or not the First

  Amendment precludes the federal government from regulating the publication of technical data

  under the authority granted by the AECA is not relevant to the merits of the APA claims plaintiffs

  assert in this litigation.” Washington v. U.S. Dep't of State, 420 F. Supp. 3d 1130, 1147 (W.D.

  Wash. 2019). It also held that the First Amendment can be “abridged” so long as it is not

  “abrogated.” Washington v. U.S. Dep't of State, 318 F. Supp. 3d 1247, 1264 (W.D. Wash. 2018).

         106.    Defense Distributed and SAF demanded that the State Department appeal. The

  demand asserted that a failure to appeal constituted a breach of the Settlement Agreement. The

  demand occurred in a January 15, 2020, letter from counsel for Defense Distributed and SAF to

  the State Department. A copy of that instrument is attached to this complaint as Exhibit E.

         107.    Even though the State Department had a right to appeal the final judgment, and

  even though it had preserved arguments that would have succeeded in having the district court’s

  judgment vacated or reversed, the State Department refused to appeal. It let the deadline for that



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  appeal come and go without taking any appellate action. The State Department refused to appeal

  this final injunction because of partisan politics and in spite of federal legal advisors that deemed

  an appeal legally necessary.

            108.   Defense Distributed and SAF appealed the Washington action’s final judgment.

  Defense Distributed’s appellant’s brief showed that the district court both lacked subject-matter

  jurisdiction because of multiple Article III shortcomings and was wrong on the merits because the

  APA cannot require abridgement of the First Amendment. So rather than be squarely defeated,

  the States moved to dismiss both appeals as moot. Defense Distributed and SAF responded jointly,

  opposing the dismissal request with several categories of argument. First, the response defeated

  the States’ mootness suggestion on its own terms. Second, it showed that mootness-based

  dismissals cannot occur unless and until disputes regarding the district court’s subject-matter

  jurisdiction are resolved. Third, the response showed that, if the case were moot, Munsingwear

  required vacatur of the district court’s judgment.

            109.   The Washington action’s Ninth Circuit panel accepted the mootness suggestion and

  dismissed the appeal. Washington v. Def. Distributed, No. 20-35030, 2020 WL 4332902 (9th Cir.

  July 21, 2020). Its order gives no meaningful indication of the mootness reasoning. It says nothing

  about the district court’s jurisdiction. And it says nothing about Munsingwear, silently leaving the

  district court’s judgment intact. A petition for rehearing en banc is now pending.

                   1.     The State Department disavowed the license.

            110.   On or before August 2, 2018, the State Department disavowed the license it had

  originally issued to Defense Distributed and SAF in July 2018.

            111.   The State Department’s disavowal of the July 2018 license constitutes final agency

  action.



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         112.    The State Department’s disavowal of the July 2018 license is reflected in an August

  2, 2018, letter from counsel for the State Department. A copy of that instrument is attached to this

  complaint as Exhibit D.

         113.    The August 2, 2018, letter from counsel for the State Department established that,

  as of August 2, 2018, the State Department had decided to proceed as though the July 2018 license

  “had not been issued.” This indicates the State Department’s disavowal of the July 2018 license.

         114.    The August 2, 2018, letter from counsel for the State Department establishes that,

  as of August 2, 2018, the State Department had decided to proceed as though the license was a

  “nullity.” This letter indicates the State Department’s disavowal of the July 2018 license.

                 2.       After disavowal, the State Department refused to supply a license.

         115.    After the State Department disavowed the license it had originally issued to

  Defense Distributed and SAF in July 2018, the State Department refused to supply Defense

  Distributed and SAF with the license that Settlement Agreement Paragraph 1(c) requires the State

  Department to supply.

         116.    The State Department’s refusal to supply Defense Distributed and SAF with the

  license that Settlement Agreement Paragraph 1(c) requires the State Department to supply entitles

  them to constitutes final agency action.

         117.    Defense Distributed and SAF demanded that the State Department issue a license

  in compliance with Settlement Agreement Paragraph 1(c) on January 15, 2020. They did so by

  transmitting a letter from counsel for Defense Distributed and SAF to counsel for the State

  Department. A copy of that instrument is attached to this complaint as Exhibit E.

         118.    Defense Distributed and SAF demanded that the State Department issue a license

  in compliance with Settlement Agreement Paragraph 1(c) on February 11, 2020. They did so by



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  transmitting a letter from counsel for Defense Distributed and SAF to counsel for the State

  Department. A copy of that instrument is attached to this complaint as Exhibit F.

                 3.      The State Department disavowed the Temporary Modification.

         119.    On or before August 2, 2018, the State Department disavowed the Temporary

  Modification that it had originally issued in July 2018.

         120.    The State Department’s August 2018 disavowal of the July 2018 Temporary

  Modification constitutes final agency action.

         121.    The State Department’s disavowal of the July 2018 Temporary Modification is

  reflected in the August 2, 2018, letter from counsel for the State Department. A copy of that

  instrument is attached to this complaint as Exhibit D.

         122.    The August 2, 2018, letter from counsel for the State Department establishes that,

  as of August 2, 2018, the State Department had decided to cease “implementing or enforcing” the

  July 2018 Temporary Modification. This letter indicates the State Department’s disavowal of the

  July 2018 Temporary Modification.

         123.    The August 2, 2018, letter from counsel for the State Department establishes that,

  as of August 2, 2018, the State Department had decided to proceed as though the July 2018

  Temporary Modification “had not occurred.” This indicates the State Department’s disavowal of

  the July 2018 Temporary Modification.

         124.    The State Department removed the July 2018 Temporary Modification from its

  website on July 31, 2018. This removal indicates the State Department’s disavowal of the July

  2018 Temporary Modification.

                 4.      After disavowal, the State Department refused to supply a Temporary
                         Modification.




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            125.   After the State Department disavowed the July 2018 Temporary Modification, the

  State Department refused to supply Defense Distributed and SAF with the temporary modification

  that Settlement Agreement Paragraph 1(b) requires the State Department to supply.

            126.   The State Department’s refusal to supply Defense Distributed and SAF with the

  temporary modification that Settlement Agreement Paragraph 1(b) requires the State Department

  to supply constitutes final agency action.

                   5.     The State Department failed to supply the required regulatory changes.

            127.   The State Department refused to supply Defense Distributed and SAF with the

  regulatory results that Settlement Agreement Paragraph 1(a) requires the State Department to

  supply.

            128.   The State Department’s refusal to supply Defense Distributed and SAF with the

  regulatory results that Settlement Agreement Paragraph 1(a) requires the State Department to

  supply constitutes final agency action.

            129.   The State Department’s refusal to supply Defense Distributed and SAF with the

  regulatory results that Settlement Agreement Paragraph 1(a) requires the State Department to

  supply constitutes a breach of the Settlement Agreement.

            130.   The State Department issued a new final rule that pertains to the Settlement

  Agreement in January 2020. See International Traffic in Arms Regulations: U.S. Munitions List

  Categories I, II, and III, 85 Fed. Reg. 3819 (Jan. 23, 2020). It did so in conjunction with a new

  rule issued by the Commerce Department. See Control of Firearms, Guns, Ammunition and

  Related Articles the President Determines No Longer Warrant Control Under the United States

  Munitions List (USML), 85 Fed. Reg. 4136, 4140-42, 4172 (Jan. 23, 2020). These new rules do

  not discharge the State Department’s obligations under Settlement Agreement Paragraph 1(a)



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  because they do not exclude all of the technical data that was the subject of Defense Distributed I

  from United States Munitions List (“USML”) Category I. Separately, these new rules do not

  discharge the State Department’s obligations under Settlement Agreement Paragraph 1(a) because

  they have been enjoined by the United States District Court for the Western District of Washington.

         131.    On April 29, 2020, Defense Distributed and SAF demanded that the State

  Department supply Defense Distributed and SAF with the regulatory results that Settlement

  Agreement Paragraph 1(a) requires the State Department to supply. They did so by transmitting a

  letter from counsel for Defense Distributed and SAF to counsel for the State Department. A copy

  of that instrument is attached to this complaint as Exhibit G.

         H.      Grewal Censors Defense Distributed

                 1.      Grewal Engages in Civil Censorship

         132.    On July 26, 2018, Grewal issued Defense Distributed a formal cease-and-desist

  letter. A copy is attached to this complaint as Exhibit H.

         133.    Grewal’s July 26, 2018, cease-and-desist letter commanded Defense Distributed to

  cease publishing its digital firearms information: “You are directed to cease and desist from

  publishing printable-gun computer files for use by New Jersey residents.” It repeatedly declared

  Defense Distributed’s publication of digital firearms information to be a violation of New Jersey

  law. It said that publication “violates New Jersey’s public nuisance and negligence laws.” It said

  that publication “violates our public nuisance law.” It said that publication “constitute[s] a public

  nuisance.” It said that publication “is negligent.” It threatened to punish Defense Distributed for

  publishing any more digital firearms information: “If you do not halt your efforts to proceed with

  publication, I will bring legal action against your company before August 1, 2018.” It ended by

  delivering another command backed by a threat of punishment: “As the chief law enforcement



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  officer for New Jersey, I demand that you halt publication of the printable-gun computer files.

  Should you fail to comply with this letter, my Office will initiate legal action barring you from

  publishing these files before August 1, 2018.”

         134.    On July 26, 2018, after sending the cease-and-desist letter, Grewal issued a press

  release reiterating the threat: “Attorney General Grewal threatened Defense Distributed with ‘legal

  action’ if it fails to comply with his demand.” The press release also took the position that

  “[p]osting this material online is no different than driving to New Jersey and handing out hard-

  copy files on any street corner.”

         135.    On July 27, 2018, Defense Distributed responded to Grewal’s July 26, 2018, cease-

  and-desist letter with a letter of its own.      The response letter explained that “all actions

  contemplated by Defense Distributed are fully protected by the First Amendment,” and that the

  Attorney General’s “attempts to prevent such action constitute an unconstitutional prior restraint

  and otherwise violate the United States Constitution.” It also explained that Defense Distributed

  would attempt to restrict files made available on the internet to prevent download within New

  Jersey. Finally, it demanded that General withdraw his cease-and-desist command. He did not.

         136.    On July 30, 2018, Grewal took coercive action against Defense Distributed by

  targeting its internet service providers.

         137.    DreamHost is a company that contracted to provide internet security services for

  Defense Distributed. DreamHost’s Acceptable Use Policy formed part of the contract between

  Defense Distributed and DreamHost.

         138.    On July 30, 2018, Grewal sent a letter to DreamHost. A copy is attached to this

  complaint as Exhibit I.




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         139.    Grewal’s July 30, 2018, letter to DreamHost attempted to make DreamHost

  terminate its provision of services to Defense Distributed. It declared that, by planning to publish

  digital firearms files on a website, “Defense Distributed is plainly planning to use the Defcad

  Website in a way that violates DreamHost’s Acceptable Use Policy.” The letter declared that

  Defense Distributed’s publication of digital firearms files violated New Jersey law. It said that

  “posting them violates New Jersey’s public nuisance and negligence laws.” It said that “posting

  them would . . . be illegal.”

         140.    On July 30, 2018, Grewal sent a copy of the July 26, 2018, cease-and desist letter

  to Cloudflare, Inc.’s legal department. Cloudflare, Inc., provides internet security services for

  Defense Distributed.

                 2.      Grewal Engages in Criminal Censorship

         141.    On November 8, 2018, New Jersey armed Attorney General Gurbir Grewal with

  Senate Bill 2465’s Section 3(l)2. S. 2465, 218th Leg., Reg. Sess. (N.J. Nov. 2018) (codified as

  N.J. Stat. 2C:39-9(l)2)). The law is codified as Section (l)(2) of New Jersey Code of Criminal

  Justice 2C:39-9. Section (l)(2) creates the following speech crime:

         l. Manufacturing or facilitating the manufacture of a firearm using a three
         dimensional printer. In addition to any other criminal penalties provided under law
         it is a third degree crime for:

                 ...

                 (2) a person to distribute by any means, including the Internet, to a person
                 in New Jersey who is not registered or licensed as a manufacturer as
                 provided in chapter 58 of Title 2C of the New Jersey Statutes, digital
                 instructions in the form of computer-aided design files or other code or
                 instructions stored and displayed in electronic format as a digital model that
                 may be used to program a three-dimensional printer to manufacture or
                 produce a firearm, firearm receiver, magazine, or firearm component.

         As used in this subsection: “three-dimensional printer” means a computer or
         computer-driven machine or device capable of producing a three-dimensional

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         object from a digital model; and “distribute” means to sell, or to manufacture, give,
         provide, lend, trade, mail, deliver, publish, circulate, disseminate, present, exhibit,
         display, share, advertise, offer, or make available via the Internet or by any other
         means, whether for pecuniary gain or not, and includes an agreement or attempt to
         distribute.

  N.J. Stat 2C:39-9(l)(2).

         142.    Section (l)(2) is a speech crime.       It outlaws the sharing of digital firearms

  information. With Grewal as its prime enforcer, New Jersey’s Section (l)(2) speech crime outlaws

  constitutionally protected speech that Plaintiffs would engage in but for Grewal’s enforcement

  threats. Calling New Jersey’s Section (l)(2) speech crime his favorite new “tool,” Grewal aims to

  jail Defense Distributed, SAF, the CodeIsFreeSpeech.com publishers, and anyone else that dares

  to exercise their right to share digital firearms information.

         143.    New Jersey’s Section (l)(2) speech crime does not criminalize conduct.               It

  criminalizes speech as such: any “digital instructions” that “may be used” by a person to “produce

  a firearm” with a “three dimensional printer.” N.J. Stat 2C:39-9(l)(2). It is now a “third degree

  crime” to “distribute” that speech “to a person in New Jersey” (except for licensed manufacturers).

  Id. Convictions under Grewal’s new speech crime entail a prison sentence of three to five years.

  N.J. Stat 2C:43-6.

         144.    New Jersey’s Section (l)(2) speech crime criminalizes every conceivable mode of

  communication. No meaningful form of human interaction survives. The keystone “distribute”

  term means “to sell, or to manufacture, give, provide, lend, trade, mail, deliver, publish, circulate,

  disseminate, present, exhibit, display, share, advertise, offer, or make available via the Internet or

  by any other means, whether for pecuniary gain or not, and includes an agreement or attempt to

  distribute.” N.J. Stat 2C:39-9(l)(2). The law also specifies that it outlaws speech delivered “by

  any means,” including “the Internet” and including standard postal “mail.” Id.



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         145.    No type of digital firearms information survives New Jersey’s Section (l)(2) speech

  crime either. Section (l)(2) outlaws both “computer-aided design files” and “other code or

  instructions stored and displayed in electronic format as a digital model.” N.J. Stat 2C:39-9(l)(2).

         146.    Information’s actual use is irrelevant to New Jersey’s Section (l)(2) speech crime.

  Section (l)(2) lets Grewal jail speakers regardless of whether or not any actual danger or harm

  exists. The crime occurs if the information “may be used” in a proscribed way. Id. (emphasis

  added). Critically, the new speech crime also lacks any meaningful intent requirement.

         147.    New Jersey’s Section (l)(2) speech crime was enacted for the purpose of

  discriminating against and censoring Defense Distributed and SAF’s members, in particular.

         148.    At the Section (l)(2) speech crime’s signing ceremony, New Jersey Governor Phil

  Murphy linked the bill to the cease-and-desist letter that Grewal issued to Defense Distributed:

         The Attorney General has been a national leader in this fight. Last June he issued
         a cease and desist letter to the companies that deal in ghost guns, saying explicitly
         that New Jersey is off limits to them. He joined likeminded attorneys general in
         successfully stopping in federal court the release of blueprints that would have
         allowed anyone with a computer and access to a 3D printer the ability to build their
         own, untraceable firearm. This law that we’re going to sign today further backs up
         his efforts, and I thank him for all that he has done. Thank you, Gurbir.

         149.    At the Section (l)(2) speech crime’s signing ceremony, Grewal said that the bill was

  a “stronger tool[]” that he could use to “stop” Defense Distributed founder “Cody Wilson” and

  “his supporters” from “release[ing] these codes online”:

         [T]oday, we’re . . . closing dangerous loopholes in our existing laws - loopholes
         that some companies and individuals have tried to exploit. This summer, for
         example, a Texan named Cody Wilson promised to publicly release computer files
         that would let anyone, even terrorists, felons, and domestic abusers, create firearms
         using a 3D printer. . . . And so back in July, we successfully challenged Cody
         Wilson in court. We obtained legal orders that temporarily halted the release of
         these codes. But his supporters are not relenting, they’re still trying to release
         these codes online. And so it’s clear that we need stronger tools to stop them . . .
         tools like the legislation crafted by Senator Cryan and that Governor Murphy is
         signing today.

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         150.    At the Section (l)(2) speech crime’s signing ceremony, Grewal said that Senate Bill

  2465 was “right on point” to “address[] printable guns or ghost guns” and that it was enacted “to

  stop the next Cody Wilson, to fight the ghost gun industry”:

         [E]arlier this year, we went after some of the biggest players in this industry. We
         told them that they were wrong on the law. We told them that they were, in fact,
         breaking the law here in New Jersey by selling those weapons here. And we told
         them to stop. And some of them complied. But others did not, and so those
         investigations are ongoing at this time.

         But in both of those cases, bad actors were trying to take advantage of loopholes
         because no law squarely addressed printable guns or ghost guns. So we had to
         rely on other laws, like our public nuisance law or our assault weapons law, to fight
         back. Now don’t get me wrong: Those laws are important and they’re great tools,
         and they helped us stop the spread of these dangerous, untraceable weapons. But
         a law right on point strengthens law enforcement’s hand even more.

         And so today, there is no question that printable guns and ghost guns are deadly,
         and selling them in New Jersey is illegal. And that’s why I’m so proud to support
         Governor Murphy’s efforts and the legislature’s efforts to close those loopholes, to
         stop the next Cody Wilson, to fight the ghost gun industry, and to regulate the next
         dangerous gun models before they spread into our communities.

         151.    At the Senate Bill 2465 signing ceremony, Grewal threatened to “come after”

  “anyone who is contemplating making a printable gun” and “the next ghost gun company”:

         And here’s my message today to anyone who is contemplating making a printable
         gun or to the next ghost gun company trying to sell their dangerous weapons into
         New Jersey: Your products are unlawful and if your break our laws we will come
         after you. And to anyone else who thinks of trying to find other loopholes in our
         laws, especially to sell dangerous firearms, we’re just as committed to stopping
         each of you.

         152.     A press release further touted Grewal’s enforcement threats.

         153.    Defense Distributed knew of the Section (l)(2) speech crime passage on the day

  that it became law and witnessed the signing ceremony. At that time, Defense Distributed

  reasonably feared that Grewal would commence enforcement of the new law against Defense

  Distributed, its officers, its employees, and/or its agents at any moment.

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         154.    Hence, Grewal is illegally censoring three distinct categories of Defense

  Distributed and SAF’s speech. If not for Grewal’s unconstitutional actions, Defense Distributed

  and SAF would be freely exercising their First Amendment rights. These losses amount to

  irreparable harm in every instance.

         155.    Category one is the free and open publication of digital firearms information on the

  internet to persons in New Jersey. This right has been exercised in the past by Defense Distributed.

  If not for Grewal’s ongoing censorship, this right would be exercised in the future by Defense

  Distributed and SAF and its members.

         156.    Category two is the free and open publication of digital firearms information via

  the mail to persons in New Jersey. This right has been exercised in the past by Defense Distributed.

  If not for Grewal’s ongoing censorship, this right would be exercised in the future by Defense

  Distributed.

         157.    Category three is the free and open offering and advertisement of digital firearms

  information to persons in New Jersey. This right has been exercised in the past by Defense

  Distributed. If not for Grewal’s ongoing censorship, this right would be exercised in the future by

  Defense Distributed and SAF and its members.

         158.    Grewal’s criminal censorship covers all three categories of conduct. Internet

  publications are covered because Section 3(l)(2) makes it a crime to distribute the banned “digital

  instructions” “by any means, including the Internet.” N.J. Stat 2C:39-9(l)(2). Mailed publications

  are covered because the speech crime also defines “distribute” to mean “mail.” And offers and

  advertisements are covered because Section 3(l)(2) defines “distribute” to mean “offer” and

  “advertise.” Id.




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          159.    Grewal’s civil censorship covers all three categories of conduct as well. His

  cease-and-desist order said to “halt publication” of any and all so-called “printable gun computer

  files.” The civil lawsuits sought prior restraints against all manner of “distributing” “printable-

  gun computer files.” And the threats against internet service providers targeted all “computer

  files” with digital firearms information.

          160.    Grewal’s censorship of non-internet speech is completely unique. Neither the

  federal government nor any other state government seeks to censor the non-internet speech of

  Defense Distributed and SAF that Grewal does. The resulting censorship of constitutionally

  protected speech is uniquely attributable to Grewal alone.

          161.    Grewal’s censorship of internet speech is unique as well—both in breadth and

  nature. His civil and criminal censorship efforts against Defense Distributed and SAF’s internet

  speech apply to more speech than federal officials’ efforts do, impose different burdens than

  federal officials’ efforts do, and threaten far greater penalties than federal officials’ efforts do. The

  resulting censorship of constitutionally protected speech is uniquely attributable to Grewal alone.

          I.      Irreparable Harm

                  1.      The State Department’s illegal conduct causes irreparable harm.

          162.    In the past, the State Department’s illegal conduct irreparably harmed Defense

  Distributed and SAF by abridging rights guaranteed by the First Amendment, Second Amendment,

  Fourteenth Amendment, and other federal speech protections.

          163.    In the past, the State Department’s illegal conduct irreparably harmed Defense

  Distributed and SAF by causing Defense Distributed and SAF to refrain from publishing digital

  firearms information that Defense Distributed and SAF had a right to publish, by causing Defense

  Distributed and SAF to refrain from receiving digital firearms information that Defense



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  Distributed and SAF had a right to receive, and by causing Defense Distributed and SAF to refrain

  from republishing digital firearms information that Defense Distributed had a right to republish.

            164.   In the past, the State Department’s illegal conduct irreparably harmed Defense

  Distributed and SAF by chilling Defense Distributed and SAF’s exercise of First Amendment

  rights.

            165.   In the past, the State Department’s illegal conduct irreparably harmed Defense

  Distributed and SAF by chilling Defense Distributed and SAF’s exercise of Second Amendment

  rights.

            166.   At present, the State Department’s illegal conduct irreparably harms Defense

  Distributed and SAF by abridging rights guaranteed by the First Amendment, Second Amendment,

  Fourteenth Amendment, and other federal speech protections.

            167.   At present, the State Department’s illegal conduct irreparably harms Defense

  Distributed and SAF by causing Defense Distributed and SAF to refrain from publishing digital

  firearms information that Defense Distributed and SAF have a right to publish, by causing Defense

  Distributed and SAF to refrain from receiving digital firearms information that Defense

  Distributed and SAF have a right to receive, and by causing Defense Distributed and SAF to refrain

  from republishing digital firearms information that Defense Distributed and SAF have a right to

  republish.

            168.   At present, the State Department’s illegal conduct irreparably harms Defense

  Distributed and SAF by chilling Defense Distributed and SAF’s exercise of First Amendment

  rights.




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            169.   At present, the State Department’s illegal conduct irreparably harms Defense

  Distributed and SAF by chilling Defense Distributed and SAF’s exercise of Second Amendment

  rights.

            170.   Absent relief from this Court, the State Department will continue to engage in the

  illegal conduct that has caused Defense Distributed and SAF irreparable harm in the past and is

  causing Defense Distributed and SAF irreparable harm at present.

                   2.     Grewal’s illegal conduct causes irreparable harm.

            171.   In the past, Grewal’s illegal conduct irreparably harmed Defense Distributed and

  SAF by abridging rights guaranteed by the First Amendment, Second Amendment, Fourteenth

  Amendment, and other federal law.

            172.   In the past, Grewal’s illegal conduct irreparably harmed Defense Distributed and

  SAF by causing them to refrain from publishing digital firearms information they have a right to

  publish, by causing them to refrain from receiving digital firearms information they have a right

  to receive, by causing them to refrain from republish firearms information they have a right to

  republish, and by chilling their exercise of First Amendment rights.

            173.   At present, Grewal’s illegal conduct irreparably harms Defense Distributed and

  SAF by abridging rights guaranteed by the First Amendment, Second Amendment, Fourteenth

  Amendment, and other federal law.

            174.   At present, Grewal’s illegal conduct irreparably harms Defense Distributed and

  SAF by causing them to refrain from publishing digital firearms information they have a right to

  publish, by causing them to refrain from receiving digital firearms information they have a right

  to receive, by causing them to refrain from republishing firearms information they have a right to

  republish, and by chilling their exercise of First Amendment rights.



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         175.    Absent relief from this Court, Grewal will continue to engage in the illegal conduct

  that has caused Defense Distributed and SAF irreparable harm in the past and is causing Defense

  Distributed and SAF irreparable harm at present.

         176.    Defense Distributed refrains from freely and openly publishing digital firearms

  information via the internet to persons in New Jersey for fear of being punished by Grewal. Once

  that threat ceases, Defense Distributed will resume engaging in this speech with persons in New

  Jersey and SAF’s members in New Jersey will resume receiving it, benefitting from it, and

  republishing it.

         177.    Defense Distributed refrains from freely and openly distributing digital firearms

  information via the mail to persons in New Jersey for fear of being punished by Grewal. Once that

  threat ceases, Defense Distributed will resume engaging in this speech and SAF’s members will

  resume receiving it, benefitting from it, and republishing it.

         178.    Defense Distributed refrains from freely and openly offering and advertising its

  mailed digital firearms information to persons in New Jersey for fear of being punished by Grewal.

  Once that threat ceases, Defense Distributed will resume making offers and advertisements about

  its mailed publications to persons in New Jersey.

         179.    SAF members have received and republished Defense Distributed’s digital firearms

  information in the past. But now they refrain from freely and openly receiving and republishing

  Defense Distributed’s files for fear of being prosecuted by states like New Jersey. Once those

  threats cease, SAF’s members will continue to freely and openly receive and republish information

  from Defense Distributed.




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         180.     Because of Grewal’s evident intention of enforcing Section (l)(2) against Defense

  Distributed and SAF, Defense Distributed and SAF have refrained from engaging in speech that

  Constitution and other federal law guarantees their right to engage in.

         181.     If Defense Distributed publishes its digital firearms information via the internet by

  making its computer files freely and openly available for download on a website, Grewal will

  enforce New Jersey’s Section (l)(2) speech crime against Defense Distributed. If SAF members

  publish or republish Defense Distributed’s computer files via the internet by making them

  available for download on a website, Grewal will enforce New Jersey’s Section (l)(2) speech crime

  against them.

         182.     If Defense Distributed publishes its digital firearms information via the mail by

  making its computer files available for shipment on physical storage devices to persons in New

  Jersey, Grewal will enforce New Jersey’s Section (l)(2) speech crime against Defense Distributed.

  Likewise, if SAF members make Defense Distributed’s computer files available for shipment on

  physical storage devices to persons in New Jersey, Grewal will enforce New Jersey’s Section (l)(2)

  speech crime against them.

         183.     If Defense Distributed engages in advertising and offering activities regarding its

  files to persons in New Jersey, Grewal will enforce New Jersey’s Section (l)(2) speech crime

  against Defense Distributed. Likewise, if SAF members engage in advertising and offering

  activities regarding Defense Distributed’s files to persons in New Jersey, Grewal will enforce New

  Jersey’s Section (l)(2) speech crime against them.

  VII.   Causes of Action Against the State Department

         A.       Count One: APA § 706(2)(A).

         184.     Defense Distributed & SAF incorporate the preceding paragraphs.



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          185.    The Administrative Procedure Act requires the Court to “hold unlawful and set

  aside agency action, findings, and conclusions” that are found to be “arbitrary, capricious, an abuse

  of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

          186.    The State Department committed a final agency action that was “arbitrary,

  capricious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A),

  by disavowing the license it had originally issued to Defense Distributed and SAF in July 2018.

  Defense Distributed & SAF are therefore entitled to a judgment holding this conduct unlawful and

  setting it aside.

          187.    The State Department committed a final agency action that was “arbitrary,

  capricious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A),

  by refusing to issue a letter to Defense Distributed & SAF, signed by the Deputy Assistant

  Secretary for Defense Trade Controls, advising that (1) Defense Distributed I’s Published Files,

  Ghost Gunner Files, and CAD Files are approved for public release (i.e., unlimited distribution )

  in any form and are exempt from the export licensing requirements of the ITAR because they

  satisfy the criteria of 22 C.F.R. § 125.4(b)(13), and (2) for the purposes of 22 C.F.R. § 125.4(b)(13)

  the Department of State is the cognizant U.S. Government department or agency, and the

  Directorate of Defense Trade Controls has delegated authority to issue the approval. Defense

  Distributed & SAF are therefore entitled to a judgment holding this conduct unlawful.

          188.    The State Department committed a final agency action that was “arbitrary,

  capricious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A),

  by refusing to draft and to fully pursue, to the extent authorized by law (including the

  Administrative Procedure Act), the publication in the Federal Register of a notice of proposed

  rulemaking and final rule revising USML Category I to exclude the technical data that was the



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  subject of Defense Distributed I. Defense Distributed & SAF are therefore entitled to a judgment

  holding this conduct unlawful.

         189.    The State Department committed a final agency action that was “arbitrary,

  capricious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A),

  by disavowing the temporary modification it had originally issued to Defense Distributed and SAF

  in July 2018. Defense Distributed & SAF are therefore entitled to a judgment holding this conduct

  unlawful and setting it aside.

         190.    The State Department committed a final agency action that was “arbitrary,

  capricious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A),

  by refusing to announce, while the above-referenced final rule is in development, a temporary

  modification, consistent with the International Traffic in Arms Regulations (ITAR), 22 C.F.R. §

  126.2, of USML Category I to exclude the technical data that was the subject of Defense

  Distributed I. Defense Distributed & SAF are therefore entitled to a judgment holding this conduct

  unlawful.

         191.    The State Department committed a final agency action that was “arbitrary,

  capricious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A),

  by refusing to acknowledge and agree that the 2018 temporary modification of USML Category I

  permits any United States person, to include Defense Distributed’s customers and SAF’s members,

  to access, discuss, use, reproduce, or otherwise benefit from the technical data that is the subject

  of the Action, and that the 2018 License permits any such person to access, discuss, use, reproduce

  or otherwise benefit from the Published Files, Ghost Gunner Files, and CAD Files of Defense

  Distributed I. Defense Distributed & SAF are therefore entitled to a judgment holding this conduct

  unlawful.



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         B.      Count Two: APA § 706(2)(B).

         192.    Defense Distributed & SAF incorporate the preceding paragraphs.

         193.    The Administrative Procedure Act requires the Court to “hold unlawful and set

  aside agency action, findings, and conclusions” that are found to be “contrary to constitutional

  right, power, privilege, or immunity.” 5 U.S.C. § 706(2)(B).

         194.    The State Department committed a final agency action that was “contrary to

  constitutional right, power, privilege, or immunity,” 5 U.S.C. § 706(2)(B), by disavowing the

  license it had originally issued to Defense Distributed and SAF in July 2018.. Defense Distributed

  & SAF are therefore entitled to a judgment holding this conduct unlawful and setting it aside.

         195.    The State Department committed a final agency action that was “contrary to

  constitutional right, power, privilege, or immunity,” 5 U.S.C. § 706(2)(B), by refusing to issue a

  letter to Defense Distributed & SAF, signed by the Deputy Assistant Secretary for Defense Trade

  Controls, advising that (1) Defense Distributed I’s Published Files, Ghost Gunner Files, and CAD

  Files are approved for public release (i.e., unlimited distribution ) in any form and are exempt from

  the export licensing requirements of the ITAR because they satisfy the criteria of 22 C.F.R.

  § 125.4(b)(13), and (2) for the purposes of 22 C.F.R. § 125.4(b)(13) the Department of State is the

  cognizant U.S. Government department or agency, and the Directorate of Defense Trade Controls

  has delegated authority to issue the approval. Defense Distributed & SAF are therefore entitled to

  a judgment holding this conduct unlawful.

         196.    The State Department committed a final agency action that was “contrary to

  constitutional right, power, privilege, or immunity,” 5 U.S.C. § 706(2)(B), by refusing to draft and

  to fully pursue, to the extent authorized by law (including the Administrative Procedure Act), the

  publication in the Federal Register of a notice of proposed rulemaking and final rule revising



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  USML Category I to exclude the technical data that was the subject of Defense Distributed I.

  Defense Distributed & SAF are therefore entitled to a judgment holding this conduct unlawful.

          197.    The State Department committed a final agency action that was “contrary to

  constitutional right, power, privilege, or immunity,” 5 U.S.C. § 706(2)(B), by disavowing the

  temporary modification it had originally issued to Defense Distributed and SAF in July 2018.

  Defense Distributed & SAF are therefore entitled to a judgment holding this conduct unlawful and

  setting it aside.

          198.    The State Department committed a final agency action that was “contrary to

  constitutional right, power, privilege, or immunity,” 5 U.S.C. § 706(2)(B), by refusing to

  announce, while the above-referenced final rule is in development, a temporary modification,

  consistent with the International Traffic in Arms Regulations (ITAR), 22 C.F.R. § 126.2, of USML

  Category I to exclude the technical data that was the subject of Defense Distributed I. Defense

  Distributed & SAF are therefore entitled to a judgment holding this conduct unlawful.

          199.    The State Department committed a final agency action that was “contrary to

  constitutional right, power, privilege, or immunity,” 5 U.S.C. § 706(2)(B), by refusing to

  acknowledge and agree that the 2018 temporary modification of USML Category I permits any

  United States person, to include Defense Distributed’s customers and SAF’s members, to access,

  discuss, use, reproduce, or otherwise benefit from the technical data that is the subject of the

  Action, and that the 2018 License permits any such person to access, discuss, use, reproduce or

  otherwise benefit from the Published Files, Ghost Gunner Files, and CAD Files of Defense

  Distributed I. Defense Distributed & SAF are therefore entitled to a judgment holding this conduct

  unlawful.

          C.      Count Three: APA § 706(2)(C).



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          200.    Defense Distributed & SAF incorporate the preceding paragraphs.

          201.    The Administrative Procedure Act requires the Court to “hold unlawful and set

  aside agency action, findings, and conclusions” that are found to be “in excess of statutory

  jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C).

          202.    The State Department committed a final agency action that was “in excess of

  statutory jurisdiction, authority, or limitations, or short of statutory right,” 5 U.S.C. § 706(2)(C),

  by disavowing the license it had originally issued to Defense Distributed and SAF in July 2018.

  Defense Distributed & SAF are therefore entitled to a judgment holding this conduct unlawful and

  setting it aside.

          203.    The State Department committed a final agency action that was “in excess of

  statutory jurisdiction, authority, or limitations, or short of statutory right,” 5 U.S.C. § 706(2)(C),

  by refusing to issue a letter to Defense Distributed & SAF, signed by the Deputy Assistant

  Secretary for Defense Trade Controls, advising that (1) Defense Distributed I’s Published Files,

  Ghost Gunner Files, and CAD Files are approved for public release (i.e., unlimited distribution )

  in any form and are exempt from the export licensing requirements of the ITAR because they

  satisfy the criteria of 22 C.F.R. § 125.4(b)(13), and (2) for the purposes of 22 C.F.R. § 125.4(b)(13)

  the Department of State is the cognizant U.S. Government department or agency, and the

  Directorate of Defense Trade Controls has delegated authority to issue the approval. Defense

  Distributed & SAF are therefore entitled to a judgment holding this conduct unlawful.

          204.    The State Department committed a final agency action that was “in excess of

  statutory jurisdiction, authority, or limitations, or short of statutory right,” 5 U.S.C. § 706(2)(C),

  by refusing to draft and to fully pursue, to the extent authorized by law (including the

  Administrative Procedure Act), the publication in the Federal Register of a notice of proposed



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  rulemaking and final rule revising USML Category I to exclude the technical data that was the

  subject of Defense Distributed I. Defense Distributed & SAF are therefore entitled to a judgment

  holding this conduct unlawful.

         205.    The State Department committed a final agency action that was “in excess of

  statutory jurisdiction, authority, or limitations, or short of statutory right,” 5 U.S.C. § 706(2)(C),

  by disavowing the temporary modification it had originally issued to Defense Distributed and SAF

  in July 2018. Defense Distributed & SAF are therefore entitled to a judgment holding this conduct

  unlawful and setting it aside.

         206.    The State Department committed a final agency action that was “in excess of

  statutory jurisdiction, authority, or limitations, or short of statutory right,” 5 U.S.C. § 706(2)(C),

  by refusing to announce, while the above-referenced final rule is in development, a temporary

  modification, consistent with the International Traffic in Arms Regulations (ITAR), 22 C.F.R.

  § 126.2, of USML Category I to exclude the technical data that was the subject of Defense

  Distributed I. Defense Distributed & SAF are therefore entitled to a judgment holding this conduct

  unlawful.

         207.    The State Department committed a final agency action that was “in excess of

  statutory jurisdiction, authority, or limitations, or short of statutory right,” 5 U.S.C. § 706(2)(C),

  by refusing to acknowledge and agree that the 2018 temporary modification of USML Category I

  permits any United States person, to include Defense Distributed’s customers and SAF’s members,

  to access, discuss, use, reproduce, or otherwise benefit from the technical data that is the subject

  of the Action, and that the 2018 License permits any such person to access, discuss, use, reproduce

  or otherwise benefit from the Published Files, Ghost Gunner Files, and CAD Files of Defense




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  Distributed I. Defense Distributed & SAF are therefore entitled to a judgment holding this conduct

  unlawful.

         D.      Count Four: APA § 706(2)(D).

         208.    Defense Distributed & SAF incorporate the preceding paragraphs.

         209.    The Administrative Procedure Act requires the Court to “hold unlawful and set

  aside agency action, findings, and conclusions” that are found to be “without observance of

  procedure required by law.” 5 U.S.C. § 706(2)(D).

         210.    The State Department committed a final agency action that was “without

  observance of procedure required by law,” 5 U.S.C. § 706(2)(D), by disavowing the license it had

  originally issued to Defense Distributed and SAF in July 2018. Defense Distributed & SAF are

  therefore entitled to a judgment holding this conduct unlawful and setting it aside.

         211.    The State Department committed a final agency action that was “without

  observance of procedure required by law,” 5 U.S.C. § 706(2)(D), by refusing to issue a letter to

  Defense Distributed & SAF, signed by the Deputy Assistant Secretary for Defense Trade Controls,

  advising that (1) Defense Distributed I’s Published Files, Ghost Gunner Files, and CAD Files are

  approved for public release (i.e., unlimited distribution ) in any form and are exempt from the

  export licensing requirements of the ITAR because they satisfy the criteria of 22 C.F.R.

  § 125.4(b)(13), and (2) for the purposes of 22 C.F.R. § 125.4(b)(13) the Department of State is the

  cognizant U.S. Government department or agency, and the Directorate of Defense Trade Controls

  has delegated authority to issue the approval. Defense Distributed & SAF are therefore entitled to

  a judgment holding this conduct unlawful.

         212.    The State Department committed a final agency action that was “without

  observance of procedure required by law,” 5 U.S.C. § 706(2)(D), by refusing to draft and to fully



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  pursue, to the extent authorized by law (including the Administrative Procedure Act), the

  publication in the Federal Register of a notice of proposed rulemaking and final rule revising

  USML Category I to exclude the technical data that was the subject of Defense Distributed I.

  Defense Distributed & SAF are therefore entitled to a judgment holding this conduct unlawful.

          213.    The State Department committed a final agency action that was “contrary to

  constitutional right, power, privilege, or immunity,” 5 U.S.C. § 706(2)(B), by disavowing the

  temporary modification it had originally issued to Defense Distributed and SAF in July 2018.

  Defense Distributed & SAF are therefore entitled to a judgment holding this conduct unlawful and

  setting it aside.

          214.    The State Department committed a final agency action that was “without

  observance of procedure required by law,” 5 U.S.C. § 706(2)(D), by refusing to announce, while

  the above-referenced final rule is in development, a temporary modification, consistent with the

  International Traffic in Arms Regulations (ITAR), 22 C.F.R. § 126.2, of USML Category I to

  exclude the technical data that was the subject of Defense Distributed I. Defense Distributed &

  SAF are therefore entitled to a judgment holding this conduct unlawful.

          215.    The State Department committed a final agency action that was “without

  observance of procedure required by law,” 5 U.S.C. § 706(2)(D), by refusing to acknowledge and

  agree that the 2018 temporary modification of USML Category I permits any United States person,

  to include Defense Distributed’s customers and SAF’s members, to access, discuss, use, reproduce,

  or otherwise benefit from the technical data that is the subject of the Action, and that the 2018

  License permits any such person to access, discuss, use, reproduce or otherwise benefit from the

  Published Files, Ghost Gunner Files, and CAD Files of Defense Distributed I. Defense Distributed

  & SAF are therefore entitled to a judgment holding this conduct unlawful.



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         E.      Count Five: Breach of contract.

         216.    Defense Distributed & SAF incorporate the preceding paragraphs.

         217.    Defense Distributed, SAF, and Conn Williamson timely performed all of their

  obligations under the Settlement Agreement. Defense Distributed, SAF, and Conn Williamson

  did not commit any material breach of the Settlement Agreement.

         218.    The State Department committed an unexcused material breach of the Settlement

  Agreement by disavowing the license it had originally issued to Defense Distributed and SAF in

  July 2018. Defense Distributed & SAF are therefore entitled to a judgment that (1) declares this

  conduct unlawful, (2) enjoins further breaches of this kind, (3) awards Defense Distributed & SAF

  nominal damages, (4) awards Defense Distributed & SAF exemplary damages, and (5) awards

  Defense Distributed actual damages proximately caused by this wrongdoing in an amount no less

  than five million dollars.

         219.    The State Department breached the Settlement Agreement by refusing to issue a

  letter to Defense Distributed & SAF, signed by the Deputy Assistant Secretary for Defense Trade

  Controls, advising that (1) Defense Distributed I’s Published Files, Ghost Gunner Files, and CAD

  Files are approved for public release (i.e., unlimited distribution ) in any form and are exempt from

  the export licensing requirements of the ITAR because they satisfy the criteria of 22 C.F.R.

  § 125.4(b)(13), and (2) for the purposes of 22 C.F.R. § 125.4(b)(13) the Department of State is the

  cognizant U.S. Government department or agency, and the Directorate of Defense Trade Controls

  has delegated authority to issue the approval. Defense Distributed & SAF are therefore entitled to

  a judgment that (1) declares this conduct unlawful, (2) enjoins further breaches of this kind, (3)

  awards Defense Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF




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  exemplary damages, and (5) awards Defense Distributed actual damages proximately caused by

  this wrongdoing in an amount no less than five million dollars.

         220.    The State Department committed an unexcused material breach of the Settlement

  Agreement by refusing to draft and to fully pursue, to the extent authorized by law (including the

  Administrative Procedure Act), the publication in the Federal Register of a notice of proposed

  rulemaking and final rule revising USML Category I to exclude the technical data that was the

  subject of Defense Distributed I. Defense Distributed & SAF are therefore entitled to a judgment

  that (1) declares this conduct unlawful, (2) enjoins further breaches of this kind, (3) awards

  Defense Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary

  damages, and (5) awards Defense Distributed actual damages proximately caused by this

  wrongdoing in an amount no less than five million dollars.

         221.    The State Department committed an unexcused material breach of the Settlement

  Agreement by refusing to announce, while the above-referenced final rule is in development, a

  temporary modification, consistent with the International Traffic in Arms Regulations (ITAR), 22

  C.F.R. § 126.2, of USML Category I to exclude the technical data that was the subject of Defense

  Distributed I. Defense Distributed & SAF are therefore entitled to a judgment that (1) declares

  this conduct unlawful, (2) enjoins further breaches of this kind, (3) awards Defense Distributed &

  SAF nominal damages, (4) awards Defense Distributed & SAF exemplary damages, and (5)

  awards Defense Distributed actual damages proximately caused by this wrongdoing in an amount

  no less than five million dollars.

         222.    The State Department committed an unexcused material breach of the Settlement

  Agreement by disavowing the temporary modification it had originally issued to Defense

  Distributed and SAF in July 2018. Defense Distributed & SAF are therefore entitled to a judgment



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  that (1) declares this conduct unlawful, (2) enjoins further breaches of this kind, (3) awards

  Defense Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary

  damages, and (5) awards Defense Distributed actual damages proximately caused by this

  wrongdoing in an amount no less than five million dollars.

         223.    The State Department committed an unexcused material breach of the Settlement

  Agreement by refusing to acknowledge and agree that the 2018 temporary modification of USML

  Category I permits any United States person, to include Defense Distributed’s customers and

  SAF’s members, to access, discuss, use, reproduce, or otherwise benefit from the technical data

  that is the subject of the Action, and that the 2018 License permits any such person to access,

  discuss, use, reproduce or otherwise benefit from the Published Files, Ghost Gunner Files, and

  CAD Files of Defense Distributed I. Defense Distributed & SAF are therefore entitled to a

  judgment that (1) declares this conduct unlawful, (2) enjoins further breaches of this kind, (3)

  awards Defense Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF

  exemplary damages, and (5) awards Defense Distributed actual damages proximately caused by

  this wrongdoing in an amount no less than five million dollars.

         224.    The State Department waived any and all grounds of opposition to court

  enforcement of the Settlement Agreement. Settlement Agreement paragraph 4 entails the State

  Department’s consent to “any civil, criminal, or administrative action . . . permitted by law, if any,

  that may be necessary to consummate or enforce this Settlement Agreement.”

         F.      Count Six: Freedom of Speech and of the Press

         225.    Defense Distributed & SAF incorporate the preceding paragraphs.

         226.    The First Amendment of the Constitution of the United States forbids government

  actions abridging the freedom of speech or of the press. It applies to the State Department.



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         227.    The State Department’s conduct violates the First Amendment doctrine regarding

  prior restraints. See, e.g., Bantam Books, Inc. v. Sullivan, 372 U.S. 58 (1963). The State

  Department’s conduct constitutes a prior restraint of expression; as such, it is an unconstitutional

  abridgement of First Amendment freedoms because the State Department cannot carry the heavy

  burden of justifying a prior restraint and because the prior restraint does not operate under

  sufficient judicial superintendence.

         228.    The State Department’s conduct violates the First Amendment doctrine regarding

  content-based speech restrictions. See, e.g., Reed v. Town of Gilbert, Ariz., 135 S. Ct. 2218 (2015).

  The State Department’s conduct imposes content-based speech restrictions; as such, the conduct

  is an unconstitutional abridgement of First Amendment’s freedoms because the State Department

  cannot carry the heavy burden of justifying a content-based speech restriction and because it does

  not serve a compelling governmental interest and is not narrowly drawn to serve any such interest.

         229.    The State Department’s conduct violates the First Amendment doctrine regarding

  content-neutral speech restrictions. See, e.g., McCullen v. Coakley, 134 S. Ct. 2518 (2014). Even

  if the State Department’s conduct is deemed to impose content-neutral speech restrictions, it is an

  unconstitutional abridgement of First Amendment’s freedoms because it does not serve a

  significant governmental interest and is not narrowly drawn to serve any such interest.

         230.    The State Department’s conduct violates the First Amendment doctrine regarding

  overbreadth. See, e.g., City of Houston, Tex. v. Hill, 482 U.S. 451 (1987). The State Department’s

  conduct forbids a substantial amount of constitutionally protected speech and is not narrowly

  tailored to prohibit only constitutionally unprotected speech; as such, it is an unconstitutional

  abridgement of First Amendment’s freedoms.




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             231.   The State Department violated Defense Distributed and SAF’s First Amendment

  rights by disavowing the license it had originally issued to Defense Distributed and SAF in July

  2018. Defense Distributed & SAF are therefore entitled to a judgment that (1) declares this

  conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense Distributed & SAF

  nominal damages, (4) awards Defense Distributed & SAF exemplary damages, and (5) awards

  Defense Distributed actual damages proximately caused by this wrongdoing in an amount no less

  than five million dollars.

             232.   The State Department violated Defense Distributed and SAF’s First Amendment

  rights by refusing to issue a letter to Defense Distributed & SAF, signed by the Deputy Assistant

  Secretary for Defense Trade Controls, advising that (1) Defense Distributed I’s Published Files,

  Ghost Gunner Files, and CAD Files are approved for public release (i.e., unlimited distribution )

  in any form and are exempt from the export licensing requirements of the ITAR because they

  satisfy the criteria of 22 C.F.R. § 125.4(b)(13), and (2) for the purposes of 22 C.F.R. § 125.4(b)(13)

  the Department of State is the cognizant U.S. Government department or agency, and the

  Directorate of Defense Trade Controls has delegated authority to issue the approval. Defense

  Distributed & SAF are therefore entitled to a judgment that (1) declares this conduct unlawful, (2)

  enjoins such further wrongdoing, (3) awards Defense Distributed & SAF nominal damages, (4)

  awards Defense Distributed & SAF exemplary damages, and (5) awards Defense Distributed

  actual damages proximately caused by this wrongdoing in an amount no less than five million

  dollars.

             233.   The State Department violated Defense Distributed and SAF’s First Amendment

  rights by refusing to draft and to fully pursue, to the extent authorized by law (including the

  Administrative Procedure Act), the publication in the Federal Register of a notice of proposed



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  rulemaking and final rule revising USML Category I to exclude the technical data that was the

  subject of Defense Distributed I. Defense Distributed & SAF are therefore entitled to a judgment

  holding this conduct unlawful. Defense Distributed & SAF are therefore entitled to a judgment

  that (1) declares this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense

  Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary damages,

  and (5) awards Defense Distributed actual damages proximately caused by this wrongdoing in an

  amount no less than five million dollars.

         234.    The State Department violated Defense Distributed and SAF’s First Amendment

  rights by disavowing the temporary modification it had originally issued to Defense Distributed

  and SAF in July 2018. Defense Distributed & SAF are therefore entitled to a judgment that (1)

  declares this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense

  Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary damages,

  and (5) awards Defense Distributed actual damages proximately caused by this wrongdoing in an

  amount no less than five million dollars.

         235.    The State Department violated Defense Distributed and SAF’s First Amendment

  rights by refusing to announce, while the above-referenced final rule is in development, a

  temporary modification, consistent with the International Traffic in Arms Regulations (ITAR), 22

  C.F.R. § 126.2, of USML Category I to exclude the technical data that was the subject of Defense

  Distributed I. Defense Distributed & SAF are therefore entitled to a judgment holding this conduct

  unlawful. Defense Distributed & SAF are therefore entitled to a judgment that (1) declares this

  conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense Distributed & SAF

  nominal damages, (4) awards Defense Distributed & SAF exemplary damages, and (5) awards




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  Defense Distributed actual damages proximately caused by this wrongdoing in an amount no less

  than five million dollars.

         236.    The State Department violated Defense Distributed and SAF’s First Amendment

  rights by refusing to acknowledge and agree that the 2018 temporary modification of USML

  Category I permits any United States person, to include Defense Distributed’s customers and

  SAF’s members, to access, discuss, use, reproduce, or otherwise benefit from the technical data

  that is the subject of the Action, and that the 2018 License permits any such person to access,

  discuss, use, reproduce or otherwise benefit from the Published Files, Ghost Gunner Files, and

  CAD Files of Defense Distributed I. Defense Distributed & SAF are therefore entitled to a

  judgment that (1) declares this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards

  Defense Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary

  damages, and (5) awards Defense Distributed actual damages proximately caused by this

  wrongdoing in an amount no less than five million dollars.

         G.      Count Seven: Right to Keep and Bear Arms

         237.    Defense Distributed & SAF incorporate the preceding paragraphs.

         238.    The Second Amendment of the Constitution of the United States forbids laws

  abridging the individual right to keep and bear Arms.

         239.    The State Department violated the Second Amendment by subjecting Defense

  Distributed & SAF to an unconstitutional abridgement of Second Amendment rights. See District

  of Columbia v. Heller, 554 U.S. 570, 627 (2008). The State Department’s conduct infringes the

  individual right to make and acquire Arms, which is part and parcel of the right to keep and bear

  Arms; as such, it is an unconstitutional abridgement of Second Amendment rights.




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             240.   The State Department violated Defense Distributed and SAF’s Second Amendment

  rights by disavowing the license it had originally issued to Defense Distributed and SAF in July

  2018. Defense Distributed & SAF are therefore entitled to a judgment that (1) declares this

  conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense Distributed & SAF

  nominal damages, (4) awards Defense Distributed & SAF exemplary damages, and (5) awards

  Defense Distributed actual damages proximately caused by this wrongdoing in an amount no less

  than five million dollars.

             241.   The State Department violated Defense Distributed and SAF’s Second Amendment

  rights by refusing to issue a letter to Defense Distributed & SAF, signed by the Deputy Assistant

  Secretary for Defense Trade Controls, advising that (1) Defense Distributed I’s Published Files,

  Ghost Gunner Files, and CAD Files are approved for public release (i.e., unlimited distribution )

  in any form and are exempt from the export licensing requirements of the ITAR because they

  satisfy the criteria of 22 C.F.R. § 125.4(b)(13), and (2) for the purposes of 22 C.F.R. § 125.4(b)(13)

  the Department of State is the cognizant U.S. Government department or agency, and the

  Directorate of Defense Trade Controls has delegated authority to issue the approval. Defense

  Distributed & SAF are therefore entitled to a judgment that (1) declares this conduct unlawful, (2)

  enjoins such further wrongdoing, (3) awards Defense Distributed & SAF nominal damages, (4)

  awards Defense Distributed & SAF exemplary damages, and (5) awards Defense Distributed

  actual damages proximately caused by this wrongdoing in an amount no less than five million

  dollars.

             242.   The State Department violated Defense Distributed and SAF’s Second Amendment

  rights by refusing to draft and to fully pursue, to the extent authorized by law (including the

  Administrative Procedure Act), the publication in the Federal Register of a notice of proposed



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  rulemaking and final rule revising USML Category I to exclude the technical data that was the

  subject of Defense Distributed I. Defense Distributed & SAF are therefore entitled to a judgment

  that (1) declares this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense

  Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary damages,

  and (5) awards Defense Distributed actual damages proximately caused by this wrongdoing in an

  amount no less than five million dollars.

         243.    The State Department violated Defense Distributed and SAF’s Second Amendment

  rights by disavowing the temporary modification it had originally issued to Defense Distributed

  and SAF in July 2018. Defense Distributed & SAF are therefore entitled to a judgment that (1)

  declares this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense

  Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary damages,

  and (5) awards Defense Distributed actual damages proximately caused by this wrongdoing in an

  amount no less than five million dollars.

         244.    The State Department violated Defense Distributed and SAF’s Second Amendment

  rights by refusing to announce, while the above-referenced final rule is in development, a

  temporary modification, consistent with the International Traffic in Arms Regulations (ITAR), 22

  C.F.R. § 126.2, of USML Category I to exclude the technical data that was the subject of Defense

  Distributed I. Defense Distributed & SAF are therefore entitled to a judgment that (1) declares this

  conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense Distributed & SAF

  nominal damages, (4) awards Defense Distributed & SAF exemplary damages, and (5) awards

  Defense Distributed actual damages proximately caused by this wrongdoing in an amount no less

  than five million dollars.




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         245.    The State Department violated Defense Distributed and SAF’s Second Amendment

  rights by refusing to acknowledge and agree that the 2018 temporary modification of USML

  Category I permits any United States person, to include Defense Distributed’s customers and

  SAF’s members, to access, discuss, use, reproduce, or otherwise benefit from the technical data

  that is the subject of the Action, and that the 2018 License permits any such person to access,

  discuss, use, reproduce or otherwise benefit from the Published Files, Ghost Gunner Files, and

  CAD Files of Defense Distributed I. Defense Distributed & SAF are therefore entitled to a

  judgment that (1) declares this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards

  Defense Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary

  damages, and (5) awards Defense Distributed actual damages proximately caused by this

  wrongdoing in an amount no less than five million dollars.

         H.      Count Eight: Due Process

         246.    Defense Distributed & SAF incorporate the preceding paragraphs.

         247.    The Due Process Clause of the Fifth Amendment of the Constitution of the United

  States forbids the federal government from depriving any person of life, liberty, or property

  without due process of law.

         248.    The State Department violated the Due Process Clause of the Fifth Amendment of

  the Constitution of the United States by depriving Defense Distributed & SAF of liberty and

  property without due process of law. See, e.g., Matthews v. Eldridge, 424 U.S. 319 (1976). The

  State Department’s conduct deprives Defense Distributed & SAF of a license issued by the

  Secretary of State pursuant to federal law, and does so without supplying adequate pre-deprivation

  notice and an opportunity to be heard; as such, it is an unconstitutional deprivation of property

  without due process of law. Defense Distributed & SAF are therefore entitled to a judgment that



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  (1) declares this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense

  Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary damages,

  and (5) awards Defense Distributed actual damages in an amount no less than five million dollars.

             249.   The State Department violated Defense Distributed and SAF’s Fifth Amendment

  rights by disavowing the 2018 License. Defense Distributed & SAF are therefore entitled to a

  judgment that (1) declares this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards

  Defense Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary

  damages, and (5) awards Defense Distributed actual damages proximately caused by this

  wrongdoing in an amount no less than five million dollars.

             250.   The State Department violated Defense Distributed and SAF’s Fifth Amendment

  rights by refusing to issue a letter to Defense Distributed & SAF, signed by the Deputy Assistant

  Secretary for Defense Trade Controls, advising that (1) Defense Distributed I’s Published Files,

  Ghost Gunner Files, and CAD Files are approved for public release (i.e., unlimited distribution )

  in any form and are exempt from the export licensing requirements of the ITAR because they

  satisfy the criteria of 22 C.F.R. § 125.4(b)(13), and (2) for the purposes of 22 C.F.R. § 125.4(b)(13)

  the Department of State is the cognizant U.S. Government department or agency, and the

  Directorate of Defense Trade Controls has delegated authority to issue the approval. Defense

  Distributed & SAF are therefore entitled to a judgment that (1) declares this conduct unlawful, (2)

  enjoins such further wrongdoing, (3) awards Defense Distributed & SAF nominal damages, (4)

  awards Defense Distributed & SAF exemplary damages, and (5) awards Defense Distributed

  actual damages proximately caused by this wrongdoing in an amount no less than five million

  dollars.




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         251.    The State Department violated Defense Distributed and SAF’s Fifth Amendment

  rights by refusing to draft and to fully pursue, to the extent authorized by law (including the

  Administrative Procedure Act), the publication in the Federal Register of a notice of proposed

  rulemaking and final rule revising USML Category I to exclude the technical data that was the

  subject of Defense Distributed I. Defense Distributed & SAF are therefore entitled to a judgment

  that (1) declares this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense

  Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary damages,

  and (5) awards Defense Distributed actual damages proximately caused by this wrongdoing in an

  amount no less than five million dollars.

         252.    The State Department violated Defense Distributed and SAF’s Fifth Amendment

  rights by disavowing the temporary modification it had originally issued to Defense Distributed

  and SAF in July 2018. Defense Distributed & SAF are therefore entitled to a judgment that (1)

  declares this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense

  Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary damages,

  and (5) awards Defense Distributed actual damages proximately caused by this wrongdoing in an

  amount no less than five million dollars.

         253.    The State Department violated Defense Distributed and SAF’s Fifth Amendment

  rights by refusing to announce, while the above-referenced final rule is in development, a

  temporary modification, consistent with the International Traffic in Arms Regulations (ITAR), 22

  C.F.R. § 126.2, of USML Category I to exclude the technical data that was the subject of Defense

  Distributed I. Defense Distributed & SAF are therefore entitled to a judgment that (1) declares

  this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards Defense Distributed &

  SAF nominal damages, (4) awards Defense Distributed & SAF exemplary damages, and (5)



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  awards Defense Distributed actual damages proximately caused by this wrongdoing in an amount

  no less than five million dollars.

         254.    The State Department violated Defense Distributed and SAF’s Fifth Amendment

  rights by refusing to acknowledge and agree that the 2018 temporary modification of USML

  Category I permits any United States person, to include Defense Distributed’s customers and

  SAF’s members, to access, discuss, use, reproduce, or otherwise benefit from the technical data

  that is the subject of the Action, and that the 2018 License permits any such person to access,

  discuss, use, reproduce or otherwise benefit from the Published Files, Ghost Gunner Files, and

  CAD Files of Defense Distributed I. Defense Distributed & SAF are therefore entitled to a

  judgment that (1) declares this conduct unlawful, (2) enjoins such further wrongdoing, (3) awards

  Defense Distributed & SAF nominal damages, (4) awards Defense Distributed & SAF exemplary

  damages, and (5) awards Defense Distributed actual damages proximately caused by this

  wrongdoing in an amount no less than five million dollars.

  VIII. Causes of Action Against Grewal.

         255.    New Jersey Attorney General Gurbir Grewal denies Defense Distributed's right to

  publish digital firearms information in the form of computer files. He denies Defense Distributed's

  right to do so via the internet; he denies Defense Distributed's right to do so via the mail; he denies

  Defense Distributed's right to do so via brick-and-mortar public libraries; and he denies Defense

  Distributed's right to do so via any other means of publication.            He also denies Defense

  Distributed's right to conduct secondary activities that accompany all of these publication methods,

  such as advertising.    In each of these respects, Grewal acts knowingly, intentionally, and

  selectively. Many people engage in the activities for which Defense Distributed and SAF are being

  persecuted. But Grewal does not target them as he targets Defense Distributed and SAF.



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         256.    Grewal's conduct subjects Defense Distributed and SAF to an unconstitutional

  abridgement of First Amendment freedoms; an unconstitutional infringement of Second

  Amendment rights; an unconstitutional violation of the right to equal protection of the laws; an

  unconstitutional deprivation of liberty and property without due process of law; an unconstitutional

  violation of the Commerce Clause, regulation by way of state laws that are preempted by federal

  law, and tortious interference with valid legal contracts.

         A.      Count Nine: 42 U.S.C. § 1983—Freedom of Speech and of the Press

         257.    Defense Distributed & SAF incorporate the preceding paragraphs.

         258.    The First Amendment of the Constitution of the United States forbids government

  actions abridging the freedom of speech or of the press. It applies to Attorney General Gurbir

  Grewal by virtue of the Fourteenth Amendment of the Constitution of the United States.

         259.    Grewal violated 42 U.S.C. § 1983 by acting, under color of state law, to subject

  Defense Distributed and SAF to an unconstitutional abridgement of First Amendment freedoms.

         260.    Grewal violated 42 U.S.C. § 1983 by threatening, under color of state law, to

  subject Defense Distributed and SAF to an unconstitutional abridgement of First Amendment

  freedoms.

         261.    Grewal’s conduct violates the First Amendment doctrine regarding prior restraints.

  See, e.g., Bantam Books, Inc. v. Sullivan, 372 U.S. 58 (1963). Grewal’s conduct constitutes a prior

  restraint of expression; as such, it is an unconstitutional abridgement of First Amendment’s

  freedoms because Grewal cannot carry the heavy burden of justifying a prior restraint and because

  the prior restraint does not operate under sufficient judicial superintendence.

         262.    Grewal’s conduct violates the First Amendment doctrine regarding content based

  speech restrictions. See, e.g., Reed v. Town of Gilbert, Ariz., 135 S. Ct. 2218 (2015). Grewal’s



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  conduct imposes content-based speech restrictions; as such, the restrictions are an unconstitutional

  abridgement of First Amendment’s freedoms because they do not serve a compelling

  governmental interest and are not narrowly drawn to serve any such interest.

         263.    Grewal’s conduct violates the First Amendment doctrine regarding content neutral

  speech restrictions. See, e.g., McCullen v. Coakley, 134 S. Ct. 2518 (2014). Even if Grewal’s

  conduct is deemed to impose content-neutral speech restrictions, it is an unconstitutional

  abridgement of First Amendment’s freedoms because it does not serve a significant governmental

  interest and is not narrowly drawn to serve any such interest.

         264.    Grewal’s conduct violates the First Amendment doctrine regarding overbreadth.

  See, e.g., City of Houston, Tex. v. Hill, 482 U.S. 451 (1987). Grewal’s conduct forbids a substantial

  amount of constitutionally protected speech and is not narrowly tailored to prohibit only

  constitutionally unprotected speech; as such, it is an unconstitutional abridgement of First

  Amendment’s freedoms.

         265.    In each of these respects, Grewal’s conduct results in an unconstitutional

  abridgement of First Amendment freedoms both facially and as applied to these circumstances.

         266.    Grewal’s conduct proximately caused damages to Defense Distributed and SAF, to

  the persons with whom Defense Distributed and SAF have communicated, to the persons who

  desire to communicate with Defense Distributed and SAF, and to other persons wishing to engage

  in similar communications. The damages include, but are not limited to, the loss of First

  Amendment rights, the chilling effect on conduct protected by the First Amendment, and the

  substantial time and resources expended in defense of these rights.




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           267.   Defense Distributed and SAF are therefore entitled to a judgment against Grewal

  awarding Defense Distributed and SAF declaratory relief, injunctive relief, and attorney fees and

  costs.

           B.     Count Ten: 42 U.S.C. § 1983—Right to Keep and Bear Arms

           268.   Defense Distributed & SAF incorporate the preceding paragraphs.

           269.   The Second Amendment of the Constitution of the United States forbids laws

  abridging the individual right to keep and bear Arms. It applies to Grewal in his official capacity

  by virtue of the Fourteenth Amendment of the Constitution of the United States.

           270.   Grewal violated 42 U.S.C. § 1983 by acting, under color of state law, to subject

  Defense Distributed and SAF to an unconstitutional abridgement of Second Amendment rights.

           271.   Grewal additionally violated 42 U.S.C. § 1983 by threatening, under color of state

  law, to subject Defense Distributed and SAF to an unconstitutional abridgement of Second

  Amendment rights.

           272.   Grewal’s conduct violates the individual Second Amendment right to keep and bear

  Arms. See District of Columbia v. Heller, 554 U.S. 570, 627 (2008); McDonald v. Chicago, 561

  U.S. 742 (2010). Grewal’s conduct infringes the individual right to make and acquire Arms, which

  is part and parcel of the right to keep and bear Arms; as such, it is an unconstitutional abridgement

  of Second Amendment rights.

           273.   In each of these respects, Grewal’s conduct constitutes an unconstitutional

  abridgement of Second Amendment rights both facially and as applied to these circumstances.

           274.   Grewal’s conduct proximately caused damages to Defense Distributed and SAF,

  the persons they communicate with, and others. The damages include, but are not limited to, the




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  loss of Second Amendment rights, the chilling effect on conduct protected by the Second

  Amendment, and the substantial time and resources expended in defense of these rights.

           275.   Defense Distributed and SAF are therefore entitled to a judgment against Grewal

  awarding Defense Distributed and SAF declaratory relief, injunctive relief, and attorney fees and

  costs.

           C.     Count Eleven: 42 U.S.C. § 1983—Equal Protection

           276.   Defense Distributed & SAF incorporate the preceding paragraphs.

           277.   The Equal Protection Clause of the Fourteenth Amendment of the Constitution of

  the United States forbids the several States from denying to any person within their jurisdictions

  the equal protection of the laws. It applies to Grewal in his official capacity.

           278.   Grewal violated 42 U.S.C. § 1983 by acting, under color of state law, to subject

  Defense Distributed and SAF to an unconstitutional violation of the Equal Protection Clause.

           279.   Grewal additionally violated 42 U.S.C. § 1983 by threatening, under color of state

  law, to subject Defense Distributed and SAF to an unconstitutional violation of the Equal

  Protection Clause.

           280.   Grewal’s conduct violates the Equal Protection Clause’s doctrine regarding

  selective enforcement. See, e.g., Whren v. United States, 517 U.S. 806 (1996). Grewal took action

  against Defense Distributed-but not similarly situated persons engaged in publication of the

  Defense Distributed I Files-because Grewal disagrees with the content of Defense Distributed’s

  constitutionally protected speech and because Grewal dislikes the persons involved in the speech;

  as such, Grewal’s conduct violates Defense Distributed and SAF’s right to the equal protection of

  the laws.




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           281.   In each of these respects, Grewal’s conduct constitutes an unconstitutional violation

  of the Equal Protection Clause both facially and as applied to these circumstances.

           282.   Grewal’s conduct proximately caused damages to Defense Distributed and SAF,

  the persons they communicate with, and others. The damages include, but are not limited to,

  Defense Distributed and SAF’s loss of Equal Protection Clause rights and the substantial time and

  resources expended in defense these rights.

           283.   Defense Distributed and SAF are therefore entitled to a judgment against Grewal

  awarding Defense Distributed and SAF declaratory relief, injunctive relief, and attorney fees and

  costs.

           D.     Count Twelve: 42 U.S.C. § 1983—Due Process

           284.   Defense Distributed & SAF incorporate the preceding paragraphs.

           285.   The Due Process Clause of the Fourteenth Amendment of the Constitution of the

  United States forbids the several States from depriving any person of life, liberty, or property

  without due process of law. It applies to Grewal in his official capacity.

           286.   Grewal violated 42 U.S.C. § 1983 by acting, under color of state law, to subject

  Defense Distributed and SAF to a deprivation of liberty and property without due process of law.

           287.   Grewal additionally violated 42 U.S.C. § 1983 by threatening, under color of state

  law, to subject Defense Distributed and SAF to a deprivation of liberty and property without due

  process of law.

           288.   Grewal’s conduct violates the Due Process Clause doctrine regarding vagueness.

  See, e.g., F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239 (2012). Grewal’s conduct forbids

  expression without giving fair notice of what is forbidden; as such, it is an unconstitutional

  deprivation of liberty and property without due process of law.



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           289.   Grewal’s conduct violates the Due Process Clause doctrine regarding overbreadth.

  See, e.g., Coates v. City of Cincinnati, 402 U.S. 611 (1971). Grewal’s conduct forbids a substantial

  amount of constitutionally protected speech; as such, it is an unconstitutional deprivation of liberty

  and property without due process of law.

           290.   Grewal’s conduct violates the Due Process Clause doctrine regarding deprivations

  of property. See, e.g., Matthews v. Eldridge, 424 U.S. 319 (1976). Grewal’s conduct deprives

  Defense Distributed and SAF of a license issued by the Secretary of State pursuant to federal law,

  and does so without supplying adequate pre-deprivation notice and an opportunity to be heard; as

  such, it is an unconstitutional deprivation of property without due process of law.

           291.   In each of these respects, Grewal’s conduct constitutes an unconstitutional

  abridgement of Due Process Clause rights both facially and as applied to these circumstances.

           292.   Grewal’s conduct proximately caused damages to Defense Distributed and SAF,

  the persons they communicate with, and others. The damages include, but are not limited to, the

  loss of Defense Distributed and SAF’s Due Process Clause rights and the substantial time and

  resources expended in defense these rights.

           293.   Defense Distributed and SAF are therefore entitled to a judgment against Grewal

  awarding Defense Distributed and SAF declaratory relief, injunctive relief, and attorney fees and

  costs.

           E.     Count Thirteen: 42 U.S.C. § 1983—Commerce Clause

           294.   Defense Distributed & SAF incorporate the preceding paragraphs.

           295.   The Commerce Clause of Article I, Section 8 of the Constitution of the United

  States imposes a negative command, known as the dormant Commerce Clause, that limits the




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  authority of the several States to enact laws burdening interstate commerce. It applies to Grewal

  in his official capacity.

          296.    Grewal violated 42 U.S.C. § 1983 by acting, under color of state law, to subject

  Defense Distributed and SAF to a deprivation of the right to be free of commercial restraints that

  violate the dormant Commerce Clause.

          297.    Grewal additionally violated 42 U.S.C. § 1983 by threatening, under color of state

  law, to subject Defense Distributed and SAF to a deprivation of the right to be free of commercial

  restraints that violate the dormant Commerce Clause.

          298.    Grewal’s conduct violates the dormant Commerce Clause doctrine regarding laws

  that directly regulate interstate commerce. See, e.g., Granholm v. Heald, 125 S. Ct. 1885 (2005).

  Grewal’s conduct directly regulates interstate commerce by projecting New Jersey law into other

  states. Grewal’s conduct does not serve a compelling governmental interest. And Grewal’s

  conduct is not the least restrictive means of accomplishing any such interest. As such, it violates

  the Commerce Clause.

          299.    Grewal’s conduct violates the dormant Commerce Clause doctrine regarding laws

  that discriminate against interstate commerce. See, e.g., Granholm, 125 S. Ct. 1885. Grewal’s

  conduct discriminates against interstate commerce on purpose, on its face, and in effect. Grewal’s

  conduct does not serve a compelling governmental interest. And Grewal’s conduct is not the least

  restrictive means of accomplishing any such interest. As such, it violates the Commerce Clause.

          300.    Grewal’s conduct violates the dormant Commerce Clause doctrine regarding all

  laws that implicate interstate commerce. See, e.g., Pike v. Bruce Church, Inc., 397 U.S. 137

  (1970). Grewal’s conduct imposes burdens on interstate commerce that are clearly excessive in

  relation to putative local benefits; as such, it violates the Commerce Clause.



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           301.   In each of these respects, Grewal’s conduct constitutes an unconstitutional

  abridgement of Due Process Clause rights both facially and as applied to these circumstances.

           302.   Grewal’s conduct proximately caused damages to Defense Distributed and SAF,

  the persons they communicate with, and others. The damages include, but are not limited to, the

  loss of Dormant Commerce Clause rights in the past and the substantial time and resources

  expended in defense these rights.

           303.   Defense Distributed and SAF are therefore entitled to a judgment against Grewal

  awarding Defense Distributed and SAF declaratory relief, injunctive relief, and attorney fees and

  costs.

           F.     Count Fourteen: 42 U.S.C. § 1983—Arms Export Control Act

           304.   Defense Distributed & SAF incorporate the preceding paragraphs.

           305.   The Supremacy Clause of the Constitution of the United States provides that the

  Constitution of the United States and the Laws of the United States which shall be made in

  Pursuance thereof shall be the supreme Law of the Land. It applies to Grewal by virtue of Article

  VI of the Constitution of the United States.

           306.   The federal government has exclusive authority to administer and enforce the

  provisions of the AECA and ITAR. Pursuant to that authority, the federal government entered into

  the Settlement Agreement with Plaintiffs and granted Plaintiffs a license to publish the Defense

  Distributed I Files.

           307.   Grewal violated the AECA and ITAR by acting, under color of state law, to regulate

  conduct that the federal government has expressly authorized pursuant to its authority under the

  AECA and ITAR. Grewal therefore violated 42 U.S.C. § 1983 by acting, under color of state law,

  to regulate Defense Distributed and SAF pursuant to state laws that are preempted by federal law.



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  “[I]f an individual claims federal law immunizes [the plaintiff] from state regulation, the court may

  issue an injunction upon finding the state regulatory actions preempted.” Armstrong v. Exceptional

  Child Ctr., Inc., 135 S. Ct. 1378, 1384 (2015).

         308.      In this respect, Grewal’s conduct is preempted both facially and as applied to these

  circumstances.

         309.      Grewal’s conduct proximately caused damages to Defense Distributed and SAF,

  the persons they communicate with, and others. The damages include, but are not limited to, the

  loss of immunity from preempted state regulation in the past and the substantial time and resources

  expended in defense these rights.

         310.      Defense Distributed and SAF are therefore entitled to a judgment against the

  Defendants awarding Defense Distributed and SAF declaratory relief and injunctive relief, and

  attorney fees and costs.

         G.        Count Fifteen: 42 U.S.C. § 1983—Communications Decency Act

         311.      Defense Distributed & SAF incorporate the preceding paragraphs.

         312.      The Communications Decency Act, 47 U.S.C. § 230, immunizes service providers

  for information originating with a third-party user of the service. Defense Distributed is a provider

  and user of an “interactive computer service” within the meaning of 47 U.S.C. § 230 because it

  operates an interactive online service at DEFCAD.com.

         313.      Senate Bill 2465 violates Defense Distributed’s rights under 47 U.S.C. § 230(c)(1)

  because it treats them, providers of interactive computer services, as publishers or speakers of

  information provided by another information content provider. Specifically, Senate Bill 2465 treats

  Defense Distributed as a publishers or speaker because it makes it a crime to “distribute” the




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  “information” at issue regardless of whether the information was “provided by another information

  content provider.”

         314.    Senate Bill 2465 is a “State . . . law that is inconsistent with” § 230, in direct

  violation of 47 U.S.C. § 230(e)(3).

         315.    In this respect, Defendant Grewal’s conduct is preempted both facially and as

  applied to these circumstances.

         316.    Grewal’s conduct proximately caused damages to Defense Distributed and SAF,

  the persons they communicate with, and others. The damages include, but are not limited to, the

  loss of immunity from preempted state regulation in the past and the substantial time and resources

  expended in defense these rights.

         317.    Defense Distributed and SAF are therefore entitled to a judgment against the

  Defendants awarding Defense Distributed and SAF declaratory relief and injunctive relief, and

  attorney fees and costs.

         H.      Count Sixteen: Tortious Interference with the Settlement Agreement

         318.    Defense Distributed & SAF incorporate the preceding paragraphs.

         319.    The Settlement Agreement is an existing, valid contract between the Defense

  Distributed I Plaintiffs and the State Department.

         320.    The Defendants committed the tort of intentional interference with an existing

  contract by willfully and intentionally engaging in conduct that made the State Department’s

  performance of the Settlement Agreement burdensome, more difficult, and of less or no value to

  the Defense Distributed I Plaintiffs. See, e.g., Restatement (Second) of Torts § 766 (1979);

  Prudential Ins. Co. of Am. v. Fin. Review Services, Inc., 29 S.W.3d 74 (Tex. 2000).




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         321.    The Defendants’ conduct proximately caused Defense Distributed to suffer

  substantial actual damages in excess of $75,000 per year.

         322.    Plaintiff Defense Distributed is therefore entitled to a judgment against the

  Defendants awarding declaratory relief, injunctive relief, and attorney fees and costs.

         I.      Count Seventeen: Tortious Interference with Existing Contracts

         323.    Defense Distributed & SAF incorporate the preceding paragraphs.

         324.    Defense Distributed and DreamHost had an existing, valid contract for the

  provision of internet security services regarding Defense Distributed’s website.

         325.    Defendant Gurbir Grewal committed the tort of intentional interference with an

  existing contract by willfully and intentionally engaging in conduct that made the performance of

  Defense Distributed’s contract with DreamHost burdensome, more difficult, and of less or no value

  to Defense Distributed. See, e.g., Restatement (Second) of Torts § 766 (1979); Prudential Ins. Co.

  of Am. v. Fin. Review Services, Inc., 29 S.W.3d 74 (Tex. 2000). Defendant Gurbir Grewal’s

  conduct proximately caused Defense Distributed to suffer substantial actual damages in excess of

  $75,000 per year.

         326.    Defense Distributed and Cloudflare, Inc. have an existing, valid contract for the

  provision of internet security services regarding Defense Distributed’s website.

         327.    Defendant Gurbir Grewal committed the tort of intentional interference with an

  existing contract by willfully and intentionally engaging in conduct that made the performance of

  Defense Distributed’s contract with Cloudflare, Inc. burdensome, more difficult, and of less or no

  value to Defense Distributed. See, e.g., Restatement (Second) of Torts § 766 (1979); Prudential

  Ins. Co. of Am. v. Fin. Review Services, Inc., 29 S.W.3d 74 (Tex. 2000). Defendant Gurbir




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  Grewal’s conduct proximately caused Defense Distributed to suffer substantial actual damages

  substantial actual damages in excess of $75,000 per year.

             328.   Defense Distributed is therefore entitled to a judgment against Defendant Gurbir

  Grewal awarding declaratory relief, injunctive relief, and attorney fees and costs.

  IX.        Requests for Relief

             A.     Defense Distributed and SAF should prevail against the State Department.

             329.   Defense Distributed and SAF request a judgment in their favor as to all claims

  against the State Department awarding them all relief they are entitled to.

             330.   Defense Distributed and SAF request a judgment against the State Department

  declaring unlawful and setting aside the State Department’s disavowal of the license it had

  originally issued to Defense Distributed and SAF in July 2018. Defense Distributed & SAF

  request an injunction protecting Defense Distributed & SAF from such unlawful conduct in the

  future—both on a preliminary basis while this action is pending and permanently. With respect to

  this conduct, Defense Distributed & SAF request an award of nominal damages, punitive damages,

  and actual damages proximately caused by this wrongdoing in an amount no less than five million

  dollars.

             331.   Defense Distributed and SAF request a judgment against the State Department

  declaring unlawful and setting aside the State Department’s disavowal of the temporary

  modification it had originally issued to Defense Distributed and SAF in July 2018. Defense

  Distributed & SAF request an injunction protecting Defense Distributed & SAF from such

  unlawful conduct in the future—both on a preliminary basis while this action is pending and

  permanently. With respect to this conduct, Defense Distributed & SAF request an award of




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  nominal damages, punitive damages, and actual damages proximately caused by this wrongdoing

  in an amount no less than five million dollars.

         332.    Defense Distributed and SAF request a judgment against the State Department

  declaring unlawful the State Department’s refusal to issue a letter to Defense Distributed & SAF,

  signed by the Deputy Assistant Secretary for Defense Trade Controls, advising that (1) Defense

  Distributed I’s Published Files, Ghost Gunner Files, and CAD Files are approved for public release

  (i.e., unlimited distribution ) in any form and are exempt from the export licensing requirements

  of the ITAR because they satisfy the criteria of 22 C.F.R. § 125.4(b)(13), and (2) for the purposes

  of 22 C.F.R. § 125.4(b)(13) the Department of State is the cognizant U.S. Government department

  or agency, and the Directorate of Defense Trade Controls has delegated authority to issue the

  approval. Defense Distributed & SAF request an injunction protecting Defense Distributed & SAF

  from such unlawful conduct in the future—both on a preliminary basis while this action is pending

  and permanently. With respect to this conduct, Defense Distributed & SAF request an award of

  nominal damages, punitive damages, and actual damages proximately caused by this wrongdoing

  in an amount no less than five million dollars.

         333.    Defense Distributed and SAF request a judgment against the State Department

  declaring unlawful the State Department’s refusal to draft and to fully pursue, to the extent

  authorized by law (including the Administrative Procedure Act), the publication in the Federal

  Register of a notice of proposed rulemaking and final rule revising USML Category I to exclude

  the technical data that was the subject of Defense Distributed I. Defense Distributed & SAF request

  an injunction protecting Defense Distributed & SAF from such unlawful conduct in the future—

  both on a preliminary basis while this action is pending and permanently. With respect to this

  conduct, Defense Distributed & SAF request an award of nominal damages, punitive damages,



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  and actual damages proximately caused by this wrongdoing in an amount no less than five million

  dollars.

             334.   Defense Distributed and SAF request a judgment against the State Department

  declaring unlawful the State Department’s refusal to announce, while the above-referenced final

  rule is in development, a temporary modification, consistent with the International Traffic in Arms

  Regulations (ITAR), 22 C.F.R. § 126.2, of USML Category I to exclude the technical data that

  was the subject of Defense Distributed I. Defense Distributed & SAF request an injunction

  protecting Defense Distributed & SAF from such unlawful conduct in the future—both on a

  preliminary basis while this action is pending and permanently. With respect to this conduct,

  Defense Distributed & SAF request an award of nominal damages, punitive damages, and actual

  damages proximately caused by this wrongdoing in an amount no less than five million dollars.

             335.   Defense Distributed and SAF request a judgment against the State Department

  declaring unlawful the State Department’s refusal to acknowledge and agree that the 2018

  temporary modification of USML Category I permits any United States person, to include Defense

  Distributed’s customers and SAF’s members, to access, discuss, use, reproduce, or otherwise

  benefit from the technical data that is the subject of the Action, and that the 2018 License permits

  any such person to access, discuss, use, reproduce or otherwise benefit from the Published Files,

  Ghost Gunner Files, and CAD Files of Defense Distributed I. Defense Distributed & SAF request

  an injunction protecting Defense Distributed & SAF from such unlawful conduct in the future—

  both on a preliminary basis while this action is pending and permanently. With respect to this

  conduct, Defense Distributed & SAF request an award of nominal damages, punitive damages,

  and actual damages proximately caused by this wrongdoing in an amount no less than five million

  dollars.



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         336.    Defense Distributed & SAF request an award against the State Department of costs,

  including reasonable attorney fees, against the State Department.

         337.    Defense Distributed and SAF request any other relief against the State Department

  to which they are entitled.

         B.      Defense Distributed and SAF should prevail against Grewal.

         338.    Defense Distributed and SAF request a judgment in their favor as to all claims

  against Grewal awarding them all relief they are entitled to.

         339.    Defense Distributed and SAF request a judgment against Grewal declaring that

  Grewal unconstitutionally abridged Defense Distributed and SAF’s First Amendment freedoms.

  Defense Distributed & SAF request an injunction protecting Defense Distributed & SAF from

  such unlawful conduct in the future—both on a preliminary basis while this action is pending and

  permanently.

         340.    Defense Distributed and SAF request a judgment against Grewal declaring that

  Grewal unconstitutionally infringed Defense Distributed and SAF’s Second Amendment rights.

  Defense Distributed & SAF request an injunction protecting Defense Distributed & SAF from

  such unlawful conduct in the future—both on a preliminary basis while this action is pending and

  permanently.

         341.    Defense Distributed and SAF request a judgment against Grewal declaring that

  Grewal unconstitutionally denied Defense Distributed and SAF the equal protection of the laws.

  Defense Distributed & SAF request an injunction protecting Defense Distributed & SAF from

  such unlawful conduct in the future—both on a preliminary basis while this action is pending and

  permanently.




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         342.    Defense Distributed and SAF request a judgment against Grewal declaring that

  Grewal unconstitutionally subjected Defense Distributed and SAF to a deprivation of liberty and

  property without due process of law. Defense Distributed & SAF request an injunction protecting

  Defense Distributed & SAF from such unlawful conduct in the future—both on a preliminary basis

  while this action is pending and permanently.

         343.    Defense Distributed and SAF request a judgment against Grewal declaring that

  Grewal unconstitutionally violated Defense Distributed and SAF’s dormant Commerce Clause

  rights. Defense Distributed & SAF request an injunction protecting Defense Distributed & SAF

  from such unlawful conduct in the future—both on a preliminary basis while this action is pending

  and permanently.

         344.    Defense Distributed and SAF request a judgment against Grewal declaring that

  federal law preempts and immunizes Defense Distributed and SAF from Grewal’s civil and

  criminal censorship.   Defense Distributed & SAF request an injunction protecting Defense

  Distributed & SAF from such unlawful conduct in the future—both on a preliminary basis while

  this action is pending and permanently.

         345.    Defense Distributed and SAF request a judgment against Grewal declaring that

  Grewal’s conduct constitutes tortious interference with the Settlement Agreement. Defense

  Distributed & SAF request an injunction protecting Defense Distributed & SAF from such

  unlawful conduct in the future—both on a preliminary basis while this action is pending and

  permanently.

         346.    Defense Distributed and SAF request a judgment against Grewal declaring that

  Grewal’s conduct constitutes tortious interference with the contracts between Defense Distributed

  and DreamHost and Cloudflare, Inc. Defense Distributed & SAF request an injunction protecting



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  Defense Distributed & SAF from such unlawful conduct in the future—both on a preliminary basis

  while this action is pending and permanently.

          347.    Defense Distributed and SAF request an award against Grewal of costs, including

  reasonable attorney fees and costs, pursuant to 42 U.S.C. § 1988.

          348.    Defense Distributed and SAF request any other relief against Grewal to which they

  are entitled.




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                                           Respectfully submitted,

                                           BECK REDDEN LLP
                                           By /s/ Chad Flores
                                           Chad Flores
                                           cflores@beckredden.com
                                           State Bar No. 24059759
                                           Daniel Nightingale
                                           dhammond@beckredden.com
                                           State Bar No. 24098886
                                           Hannah Roblyer
                                           hroblyer@beckredden.com
                                           State Bar No. 24106356
                                           1221 McKinney St., Suite 4500
                                           Houston, TX 77010
                                           (713) 951-3700 | (713) 952-3720 (fax)

                                           FARHANG & MEDCOFF
                                           Matthew Goldstein
                                           mgoldstein@farhangmedcoff.com
                                           D.C. Bar No. 975000
                                           4801 E. Broadway Blvd., Suite 311
                                           Tucson, AZ 85711
                                           (202) 550-0040 | (520) 790-5433 (fax)

                                           Josh Blackman
                                           joshblackman@gmail.com
                                           Texas Bar No. 24118169
                                           1303 San Jacinto Street
                                           Houston, TX 77002
                                           (202) 294-9003 | (713) 646-1766 (fax)

                                           Attorneys for Plaintiffs Defense Distributed
                                           and Second Amendment Foundation, Inc.




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                                  CERTIFICATE OF SERVICE

          I certify that a true and correct copy of the above and foregoing document was served on
  the following parties and/or counsel of record through a manner authorized by Federal Rule of
  Civil Procedure 5(b) on November 10, 2020.


                                                      /s/ Chad Flores
                                                      Chad Flores




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